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                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

In re:
LORENZO ESTEVA,                                      Case No. 18-16645-LMI
       Debtor.                                       Chapter 11
_____________________________/

LORENZO ESTEVA, a Florida resident,                  Adv. Proc. No.:_____________
DENISE OTERO VILARINO, a Florida
resident,
       Plaintiffs,
v.

UBS FINANCIAL SERVICES, INC.,
a foreign corporation and
UBS Credit Corp., a foreign corporation,
        Defendants.
_____________________________/

 ADVERSARY COMPLAINT FOR DETERMINATION OF TBE EXEMPTION
 OF JOINT BANK ACCOUNT; DETERMINATION OF THE VALIDITY AND
   EXTENT OF UBS’ LIEN ON JOINT BANK ACCOUNT; TURNOVER OF
     FUNDS IN JOINT ACCOUNT UNDER 11 U.S.C. 542; AND UNJUST
  ENRICHMENT BASED ON UBS’S RETENTION OF THE DEBTOR’S $270
      MILLION BOOK OF BUSINESS AND OBJECTION TO CLAIM

       Plaintiffs, Lorenzo Esteva, the debtor and debtor-in-possession (the “Plaintiff” or

“Esteva”), and Denise Otero Vilarino, his wife (“Otero” or collectively with Esteva, the

“Plaintiffs”), sue Defendants, UBS Financial Services, Inc. (“UBSFS”), and UBS Credit

Corp. (“USBCC”), and state:

                      PARTIES, VENUE, AND JURISDICTION

       1.      This is an adversary proceeding for the determination of the tenancy by

the entities status of a joint bank account at UBSFS, the determination of the validity and

extent of any security interest in the joint account arising from a security agreement

executed by Esteva only, turnover of the funds in the joint bank account, and unjust
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enrichment for damages arising from USBFS’ retention of Esteva’s approximately $270

million book of business including an objection to any claim of USBFS or USBCC in this

Chapter 11 case.

       2.      The Court has subject matter jurisdiction over this adversary proceeding

under 28 U.S.C. § 1334(b). Each matter presented is a core proceeding under 28 U.S.C.

§ 157(b)(2)(A), (B), (E), (K) and (O).

       3.      Esteva and Otero are Florida residents.

       4.      UBSFS is a Delaware corporation licensed to do business as a broker-

dealer in the State of Florida.

       5.      UBSCC is a Delaware corporation and an affiliate of UBSFS doing

business in the State of Florida.

       6.      On May 31, 2018 (the “Petition Date”), the Debtor filed his voluntary

Chapter 7 petition.

       7.      On December 18, 2018, the Court entered the Order Converting Case

Under Chapter 7 to Case Under Chapter 11 (ECF # 62). The Debtor continues to operate

and manage his properties under §§ 1107 and 1108.

                                    PREPETITION FACTS

       8.      Esteva and Otero were married on August 2007.

       9.      They have two minor children and one daughter attending college.

       10.     In November 2015, UBSFS employed Esteva as a financial advisor in the

International Division in its Miami office. UBSFS hired Esteva based upon a target that

he would bring $110 million in managed assets during his first year. By the time he left,

Esteva had brought approximately $270 million in managed assets to UBSFS.




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       11.      In December 2015, Esteva and Otero opened the joint “House Account”,

account number R2 XX362 YJ RMA Domestic (the “House Account”). The account is

denoted “Joint Ten W/Rights Surv” but the signature cards do not disclaim tenancy by

the entirety, and are attached as Exhibit A.

       12.      The joint account was maintained at “UBS Financial Services, Inc.”, 100

South East 2nd Street, 25th Floor, Miami, FL 33131.

       13.      The House Account according to UBSFS is governed by the UBS Client

Relationship Agreement (the “Agreement”) which is attached as Exhibit B.

       14.      The estimated balance in the account as of the Petition Date was

$1,989,648.19, consisting of $500,000 from a joint account that was transferred from

Merrill Lynch and the remaining balance was from the deferred compensation

promissory notes to be burned off over the course of Esteva’s employment with UBSFS.

       15.      On March 2018, the House Account had a balance of $1,994,041, as set

forth on the UBS account statement.

       16.      To lure Esteva from his long-held position with Merrill Lynch he had held

for the previous 26 years, UBSFS advanced Esteva compensation evidenced by four

promissory notes:

             a. December 8, 2015, $1,649,993.00 payable $164,999.30 annually through

                November 17, 2025 from salary and commissions with 1.89% interest

                rate;

             b. March 17, 2016, $212,046.00 payable $23,560.67 annually through

                February 28, 2025 from salary and commissions with 1.75% interest rate;




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             c. June 14, 2016, $290,623.00 payable $32,291.44 annually through May 31,

                2015 from salary and commissions with 1.68% interest rate; and

             d. September 20, 2016, $67,328.10 payable $7,480.90 annually through

                August 31, 2025 from salary and commissions with 1.46% interest rate

                (collectively the “notes”).

A copy of the notes is Composite Exhibit C. The notes are payable to UBS Credit

Corp., a Delaware Corporation and its successors and/or assigns, including all affiliates

and related entities (“UBS”).

       17.      The notes provide that “Employee authorizes UBS to offset the above

payments at the time they are due from any salary, commission, bonus, award, transition

payment, or other compensation payable to the Employee by UBS and all related entities

and/or any funds held by Employee in his/her UBS Financial Services Resource

Management Account (“RMA”) or any other account maintained at UBS, other than

deferred compensation as defined in Section 409A of the Internal Revenue Code…”

       18.      Esteva also entered into four transition payment agreements with UBSFS

for it to repay him essentially the payments due under the notes as the payments came

due from 2015 through 2025 if Esteva remained employed by UBSFS. A copy of the

transition agreement is Exhibit E. The notes were to be forgiven over their term as long

as Esteva remained employed and met the other conditions set forth in the transition

agreements.

       19.      Otero did not sign or otherwise guarantee payment of the notes.

       20.      Otero did not grant UBSFS or UBSCC a security interest in the funds in

the joint account.




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        21.     On June 6, 2017, UBSFS terminated Esteva.

        22.     Otero did not execute a security agreement in favor of UBSF

        23.     Plaintiffs have retained the undersigned and agreed to pay him reasonable

attorneys’ fees and costs.

        24.     All conditions precedent to this action have occurred, been waived or were

satisfied.

   COUNT 1 – DECLARATORY JUDGMENT DETERMINING TENANCY BY
                THE ENTIRITIES OF HOUSE ACCOUNT

        25.     Plaintiffs realleges paragraphs 1 – 24 as if fully set forth herein.

        26.     This is an action for declaratory judgment determining that the House

Account is exempt as tenancy by the entireties property of husband and wife.

        27.     There exists an actual case and controversy.

        28.     The meeting of creditors was concluded January 17, 2019.

        29.     Under Fed. R. Bankr. P. 4003(b)(1), a party in interest may file an

objection to the list of property claimed as exempt within 30 days after the meeting of

creditors held under § 341(a) is concluded, which expired February 18, 2019.

        30.     Neither UBSFS nor UBSCC timely objected.

        31.     Esteva and Otero held the House Account as husband and wife under the

six necessary characteristics: (i) unit of possession (joint ownership and control); (ii)

unity of interest (their interest in the account must be identical); (iii) unity of title (the

interests must have originated in the same instrument); (iv) unit of time (the interest must

have commenced simultaneously); (v) survivorship; and (vi) unity of marriage.

        WHEREFORE Plaintiffs respectfully requests entry of final declaratory judgment

against UBSFS and UBSCC determining that the House Account is exempt as tenancy by



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the entireties and granting such other and further as is just and proper under the

circumstances.

       COUNT 2 – DETERMINATION OF VALIDTY AND EXTENT OF LIEN

       32.       Plaintiffs realleges paragraphs 1 – 24 as if fully set forth herein.

       33.       The House Account falls within the broad meaning of estate property.

       34.       UBSFS asserts a lien on the funds in the House Account by virtue of the

notes and UBS CRA.

       35.       Otero did not sign or guaranty payment of the notes.

       36.       UBSFS primarily relied on the following language from the CRA entitled

“Security Interest”), drafted by UBSFS, as a grant by Otero of a security interest in the

House Account to secure payment of the notes due to USBCC by Esteva:

                 As security for payment of all liabilities of indebtedness presently
                 outstanding or to be incurred under this or any other agreement
                 between you and any UBS Entity, including but not limited to any
                 loans or promissory notes, you hereby grant to each UBS Entity a
                 security interest in and lien on any and all Property held or
                 carried by any UBS Entity for you or on your behalf in or credited
                 to any UBS Account(s)(other than qualified plan or IRA accounts
                 or other accounts where doing so would be prohibited transaction
                 or violation of applicable law or regulation) and in any other
                 Account with any UBS Entity in which you may have any legal,
                 equitable or other interest.

                 All such Property will be subject to such security interest as
                 collateral for the discharge of our obligations to any UBS Entity,
                 wherever or however arising and without regard to whether or not
                 we made loans with respect to the Property. In enforcing our
                 security interest, we have the discretion to determine the amount,
                 order, and manner in which the Property will be sold and have all
                 the rights and remedies available to a secured party under the
                 Uniform Commercial Code (UCC) in addition to all other rights in
                 this Agreement or by law.

Exhibit B at p. 29 (emphasis added).




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        37.     In addition to the above, UBSFS also relied on the following additional

language drafted by it from the CRA:

                We may satisfy any and all amounts you owe us in connection
                with any of your accounts or agreements with us, or any other
                agreement between you and UBS Entity, including but not limited
                to any loans, promissory notes or tax obligations, from Property we
                hold or carry in any of your Accounts with us (other than qualified
                or IRA accounts or other accounts where doing so would be
                prohibited transaction or violation of applicable law or regulation).

Id. (emphasis added).

        38.     Under the CRA, you is defined as “‘You’, ‘your’ and ‘yours’ refer to you

as a client of UBS. Id. at p. 19 or 42.

        39.     The alleged granting language above, drafted by the world-renown

provider of ultra-sophisticated wealth management and financial products, by its own

terms is only a grant by Otero of a security interest in the House Account to secure

payment of debts Otero owed UBSFS. Nowhere does Otero grant UBSFS a security

interest to secure payment of debts owed by Esteva.

        40.     Otero does not owe UBSFS or UBSCC under any agreement or on any

account (i.e., overdraft).

        41.     Otero did grant UBSFS or UBSCC a security interest in the House

Account to secure repayment of a debt owed solely by Esteva.

        42.     Esteva alone cannot grant UBSFS or UBSCC a valid security interest in

the House Account to secure repayment of his debt.

        43.     UBSFS or UBSCC as only a creditor of Esteva do not hold a valid security

interest in the House Account.




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       WHEREFORE Plaintiffs respectfully request entry of a final judgment

determining that UBSFS and UBSCC do not hold a valid security interest, lien, right of

set off, or any other encumbrance against the House Account and determining that the

House Account is free and clear of all liens, claims, and encumbrances of UBSFS and

UBSCC and granting such other and further relief as may be just and proper under the

circumstances.

               COUNT 3 - TURNOVER OF PROPERTY UNDER § 542

       44.       The Debtor realleges paragraphs 1 through 24 as if fully set forth herein.

       45.       UBSFS is in possession, custody, or control of the funds in the House

Account.

       46.       The funds in the House Account may be used by Esteva and Otero to fund

the Debtor’s chapter 11 case or are funds that the Debtor may exempt under 11 U.S.C. §

522.

       47.       The funds in the House Account are in excess of $1.9 million and not of

inconsequential value.

       WHEREFORE Esteva respectfully requests entry of final judgment against

UBSFS directing the immediate turnover of the funds in the House Account, plus pre and

post judgment interest and attorneys’ fees and costs as may be applicable and for such

other and further relief as may be just and proper under the circumstances.

       COUNT 4 – UNJUST ENRICHMENT AND OBJECTION TO CLAIM

       48.       Plaintiff realleges paragraphs 1 through 24 as if fully set forth herein.

       49.       Esteva brought his entire book of business consisting of approximately

$270 million of serviceable account deposits to UBSFS in December 2015.




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       50.     UBSFS terminated Esteva in July 2017 but retained his entire approximate

$270 million book of business.

       51.     UBSFS continued to earn millions of dollars of commissions from

servicing Esteva’s book of business.

       52.     UBSFS knew Esteva brought the book of business to UBSFS with full

knowledge Esteva expected to be compensated a portion of the commissions UBSFS

earned from his book of business.

       53.     Under the circumstances it would be unfair and inequitable for UBSFS to

retain the millions of dollars of commissions without compensation to Esteva for bringing

the book of business to UBSFS.

       54.     As well, to the extent UBSFS intends to assert a claim in this Chapter 11

bankruptcy case, secured or otherwise, Esteva objects to such claim to the extent such

claim fails to setoff against the amount of the claim the amount of damages arising under

this claim for unjust enrichment.

       WHEREFORE Esteva respectfully requests entry of final judgment against

UBSFS awarding Esteva damages for unjust enrichment and disallowing any claim of

UBSFS to the extent of any such damages awarded plus pre and post judgment interest

and attorneys’ fees and costs as may be applicable and for such other and further relief as




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may be just and proper under the circumstances.

        Dated this February 26, 2019.


AM LAW
Counsel for Plaintiff Esteva1
7385 SW 87th Avenue, Suite 100
Miami, FL 33173
PH: 305.441.9530
FX: 305.595.5086
By:/s/ Gary M. Murphree
Gary M. Murphree, Esq.
FBN 996475
Brandy Gonzalez-Abreu, Esq.
FBN: 017685




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  Counsel for Plaintiff Otero, Danial Foodman, Esq., WNF Law PL, is the subject of a pro hoc vice motion
to be filed concurrently herewith.


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           Exhibit A Page 1 of 3
       Signature cards to home account
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                               Signature Page




                                                                                                                                                                                          SIGN AND RETURN TO UBS
                               Denise Otero Vilarino
                               Account Number and Description                                                 Signature Requirement

                               R2 90147 RMA Domestic - Joint Ten W/Rights Surv                                Client Relationship Agreement
                               Lorenzo Esteva
                               Account Number and Description                                                 Signature Requirement

                               R2 90147 RMA Domestic - Joint Ten W/Rights Surv                                Client Relationship Agreement


                               By signing below and depositing cash or securities in my account, I acknowledge that I have read, understand and agree with the enclosed UBS Client
                               Relationship Agreement, as well as the terms, conditions and disclosures in the enclosed Agreements and Disclosures booklet.

                               Margin Agreement                                                                Electronic Delivery Consent
                               I acknowledge that when I use margin privileges, UBS will hold the              As you requested, we have sent your agreements and disclosure booklet
                               securities in my Account as collateral against the amounts I borrow. I          and other account-related documents electronically to
                               agree to keep sufficient positions and margin in my Account to meet any         estevlo@gmail.com, which we consider to be the e-mail address of record
                               margin calls UBS may be required to issue. By signing below, I agree that       for all owners of the account. The information is also available at
                               the Margin Agreement in my Client Relationship Agreement applies to             www.ubs.com/accountdisclosures or by request to your Financial Advisor,
                               all of my accounts, including any accounts that I may open in the future.       Lorenzo Esteva at 1-305-536-9200.
                               Note: UBS does not extend margin for certain types of accounts (e.g.,
                               IRA and ERISA Plan accounts, Coverdell Education Savings Accounts,
                               403(b)(7) Accounts, UGMA/UTMA, Estate or 529 Plan Accounts).

                               Likewise, I acknowledge and agree that certain securities in my account,
                               including any account I may open in the future, may be loaned to UBS or
                               to other persons or entities as described in the Margin Agreement.
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de 0250 3701 7401 11/25/2015




                                                                                                             0155165833                   Page 1 of 3




                                  Package ID: 0155165043
                                                           *0155165833|01|03*
                                                                            Exhibit B Page 1 of 42                                                            Continued on next page...
                                                                                                                                                                                          1

                                                                     Client Relationship Agreement (CRA)
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SIGN AND RETURN TO UBS



                         Denise Otero Vilarino
                         For Accounts:                                                      Enter your Tax ID Number:
                         R2 90147 RMA Domestic - Joint Ten W/Rights Surv
                                                                                                                −               −


                                                                                           0       Check here if you have been notified by the IRS that you are subject to
                                                                                                   backup withholding, and therefore have crossed out item (2) below.
                                                                                                   Exemption from FATCA reporting code (if any):_______

                         W-9 Form Certification
                         Under penalties of perjury, I certify that: (1) the number shown on this form is my correct taxpayer identification number      The Client Relationship
                         (or I am waiting for a number to be issued to me), and 2) I am not subject to backup withholding because: (a) I am              Agreement contains a
                         exempt from backup withholding, or (b) I have not been notified by the Internal Revenue Service (IRS) that I am subject         pre-dispute arbitration
                         to backup withholding as a result of a failure to report all interest and dividends, or (c) the IRS has notified me that I am   clause located in the final
                         no longer subject to backup withholding, and (3) I am a U.S. citizen or other U.S. person (defined in the instructions), and    section under the title
                         (4) The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.                “Arbitration.”
                         Certification Instruction: You must cross out item (2) above if you have been notified by the IRS that you are currently
                         subject to backup withholding because you have failed to report all interest and dividends on your tax return.

                         The Internal Revenue Service does not require your consent to any provision of this document other than the
                         certifications required to avoid backup withholding.


                         X
                              Denise Otero Vilarino                                         Date




                                                                                                                                                                                           de 0250 3701 7402 11/25/2015




                                                                                                            0155165833                    Page 2 of 3




2
                                                      *0155165833|02|03*Exhibit B Page 2 of 42                                                                 Continued on next page...


                                                                 Client Relationship Agreement (CRA)
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                                                                                                                                                                                             SIGN AND RETURN TO UBS
                               Lorenzo Esteva
                               For Accounts:                                                      Enter your Tax ID Number:
                               R2 90147 RMA Domestic - Joint Ten W/Rights Surv
                                                                                                                      −               −


                                                                                                 0       Check here if you have been notified by the IRS that you are subject to
                                                                                                         backup withholding, and therefore have crossed out item (2) below.
                                                                                                         Exemption from FATCA reporting code (if any):_______

                               W-9 Form Certification
                               Under penalties of perjury, I certify that: (1) the number shown on this form is my correct taxpayer identification number      The Client Relationship
                               (or I am waiting for a number to be issued to me), and 2) I am not subject to backup withholding because: (a) I am              Agreement contains a
                               exempt from backup withholding, or (b) I have not been notified by the Internal Revenue Service (IRS) that I am subject         pre-dispute arbitration
                               to backup withholding as a result of a failure to report all interest and dividends, or (c) the IRS has notified me that I am   clause located in the final
                               no longer subject to backup withholding, and (3) I am a U.S. citizen or other U.S. person (defined in the instructions), and    section under the title
                               (4) The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.                “Arbitration.”
                               Certification Instruction: You must cross out item (2) above if you have been notified by the IRS that you are currently
                               subject to backup withholding because you have failed to report all interest and dividends on your tax return.

                               The Internal Revenue Service does not require your consent to any provision of this document other than the
                               certifications required to avoid backup withholding.


                               X
                                    Lorenzo Esteva                                                Date



                               Address of Record
                               3672 Bayview Rd
                               Coconut Grove, FL 33133-6503

                               Email Address of Record
                               estevlo@gmail.com
de 0250 3702 7403 11/25/2015




                                                                                                                  0155165833                    Page 3 of 3




                                                            *0155165833|03|03*Exhibit B Page 3 of 42                                                                                         3

                                                                       Client Relationship Agreement (CRA)
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                                                                                            0155165831




                                       *0155165831|01|03*
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                                                                 0155165831




            *0155165831|02|03*
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                                       *0155165831|03|03*
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         Client Relationship Agreement (CRA)
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                                                                                       0155165832




                                        *0155165832|01|02*
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                  *0155165832|02|02*
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                                                                                                       Detach Here
                                                                                                                                                           Case 19-01047-LMI




                                                                                                                                            NO POSTAGE
                                                                                                                                           NECESSARY IF
                                                                                                                                           MAILED IN THE
                                                                                                                                           UNITED STATES
                                                                                                                                                           Doc 1




                                                                     BUSINESS REPLY MAIL
                                                                     FIRST-CLASS MAIL    PERMIT NO. 1       UNION CITY NJ
                                                                              POSTAGE WILL BE PAID BY ADDRESSEE
                                                                                                                                                           Filed 03/04/19




       Exhibit B Page 11 of 42
                                                                       AFTAAFTATFAFDAATAAFTDAATDAFATDTFFDATTAFDDDFFDFTDTTADFFATAADDAATFD
                                                                       ATTN: Lorenzo Esteva




Client Relationship Agreement (CRA)
                                                                       UBS FINANCIAL SERVICES INC.
                                                                       100 SE 2nd St STE 2500
                                                                                                                                                           Page 24 of 87




                                                                       Miami, FL 33131-9863
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                     Client Information
Client Information




                                                                                                                                                                      Client Information
                     Denise Otero Vilarino



                     Personal Information
                                                                                                                                      U.S. Federal law requires us
                     Name                                                       Denise Otero Vilarino                                 to obtain, verify and record
                                                                                                                                      information that identifies
                     Citizenship                                                United States                                         each person or entity
                     Gender                                                     Female                                                that opens an Account with
                                                                                                                                      us. When you open an
                     Date of Birth                                              08/22/1977                                            Account, we will ask for
                                                                                                                                      your name, street address,
                     Marital Status                                             Married                                               date of birth and a tax
                                                                                                                                      identification number, such
                                                                                                                                      as a Social Security number.
                     Contact Information                                                                                              We may also ask to see a
                     Residential Address                                        3672 Bayview Rd                                       driver's license or other
                                                                                                                                      documents that will allow
                     City, State, Zip Code                                      Coconut Grove, FL 33133-6503                          us to identify you.
                     Home Phone                                                 (305) 613 - 1780                                      Please review and verify all
                                                                                                                                      of the information that you
                                                                                                                                      provided to us when you
                                                                                                                                      opened your Account. If
                                                                                                                                      you have changes,
                     Employment Information                                                                                           corrections or additions,
                                                                                                                                      notify your Financial Advisor
                     Employment Status                                          Work in the Home                                      as soon as possible.

                                                                                                                                      If you share assets with
                     Net Worth Information                                                                                            another person, the net
                                                                                                                                      worth figure here shows
                     Annual Income                                              Range from $0 - $29,999                               your portion only, based
                     Liquid Assets (cash and marketable securities)             Range from $500,000 - $999,999                        upon instructions you
                                                                                                                                      provided.
                     Net Worth (excluding primary residence)                    Range from $3,000,000 - $4,999,999
                                                                                                                                      Investment Information:
                     You have indicated that you do not derive a substantial amount of your income / wealth (over 50%) from a         This section reflects answers
                     country outside of the United States.                                                                            you provided related to
                                                                                                                                      your investment experience,
                                                                                                                                      market knowledge and
                     Investment Information                                                                                           other assets and is used to
                                                                                                                                      ensure our investment
                     Years you have held investment accounts                    20                                                    recommendations are
                         Equities                                               20                                                    suitable for your situation.

                         Bonds                                                  20
                         Futures                                                20
                         Options-Buy                                            20
                         Options-Sell                                           20
                                                                                You have indicated you are an experienced investor
                     Knowledge of investments
                                                                                in financial markets and market investments.
                     Percentage of total investable assets held at UBS          20-40%

                     Other
                     Own Home or Rent?                                          Own

                     Affiliations
                     Affiliated with securities firms or broker/dealer?     No
                     You have indicated that you are not an employee of UBS AG, its subsidiary or affiliates.
                     You have indicated that you are related to an employee of UBS AG, its subsidiary or affiliates.
                     You have indicated that you are not a control person (Policy-maker, director or 10% shareholder) of a publicly
                     traded corporation.




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                                                       Client Relationship Agreement (CRA)
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Client Information




                                                                                                                                                                 Client Information
                     Lorenzo Esteva



                     Personal Information
                                                                                                                                 U.S. Federal law requires us
                     Name                                                   Lorenzo Esteva                                       to obtain, verify and record
                                                                                                                                 information that identifies
                     Citizenship                                            United States                                        each person or entity
                     Gender                                                 Male                                                 that opens an Account with
                                                                                                                                 us. When you open an
                     Date of Birth                                          07/08/1965                                           Account, we will ask for
                                                                                                                                 your name, street address,
                     Marital Status                                         Married                                              date of birth and a tax
                     Number of Dependents                                   04                                                   identification number, such
                                                                                                                                 as a Social Security number.
                                                                                                                                 We may also ask to see a
                                                                                                                                 driver's license or other
                     Contact Information                                                                                         documents that will allow
                     Residential Address                                    3672 Bayview Rd                                      us to identify you.

                     City, State, Zip Code                                  Coconut Grove, FL 33133-6503                         Please review and verify all
                     Home Phone                                             (305) 613 - 1780                                     of the information that you
                                                                                                                                 provided to us when you
                     E-mail Address                                         estevlo@gmail.com                                    opened your Account. If
                                                                                                                                 you have changes,
                                                                                                                                 corrections or additions,
                                                                                                                                 notify your Financial Advisor
                                                                                                                                 as soon as possible.
                     Employment Information
                                                                                                                                 If you share assets with
                     Employment Status                                      Employed                                             another person, the net
                                                                                                                                 worth figure here shows
                     Occupation                                             Financial Advisor                                    your portion only, based
                     Occupation Industry                                    Finance,Insurance,Real Estate                        upon instructions you
                                                                                                                                 provided.
                     Employer Name                                          UBS Financial Services Inc.
                                                                                                                                 Investment Information:
                     Business Address                                       100 SE 2nd St Suite 2500                             This section reflects answers
                     City, State, Zip Code                                  Miami, FL 33131 - 2130                               you provided related to
                                                                                                                                 your investment experience,
                                                                                                                                 market knowledge and
                                                                                                                                 other assets and is used to
                     Net Worth Information                                                                                       ensure our investment
                     Annual Income                                          Range from $500,000 - $999,999                       recommendations are
                                                                                                                                 suitable for your situation.
                     Liquid Assets (cash and marketable securities)         Range from $500,000 - $999,999
                     Net Worth (excluding primary residence)                Range from $3,000,000 - $4,999,999
                     You have indicated that you do not derive a substantial amount of your income / wealth (over 50%) from a
                     country outside of the United States.


                     Investment Information
                     Years you have held investment accounts                30
                         Equities                                           30
                         Bonds                                              30
                         Futures                                            30
                         Options-Buy                                        30
                         Options-Sell                                       30
                                                                            You have indicated you are an experienced investor
                     Knowledge of investments
                                                                            in financial markets and market investments.
                     Percentage of total investable assets held at UBS      20-40%

                     Other
                     Own Home or Rent?                                      Own

                     Affiliations
                     Affiliated with securities firms or broker/dealer?     No

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Client Information




                                                                                                                                      Client Information
                     You have indicated that you are an employee of UBS AG, its subsidiary or affiliates.
                     You have indicated that you are not related to an employee of UBS AG, its subsidiary or affiliates.
                     You have indicated that you are not a control person (Policy-maker, director or 10% shareholder) of a publicly
                     traded corporation.




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                                                          Client Relationship Agreement (CRA)
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                      Account Information
Account Information




                                                                                                                                                                               Account Information
                      RMA Domestic Joint Ten W/Rights Surv
                      Your Account                                                                                                         Please review the information
                      Account Number                                           R2 90147                                                    about each of your accounts
                                                                                                                                           and notify your Financial
                                                                               Lorenzo Esteva                                              Advisor immediately if you
                      Account Title
                                                                               Denise Otero Vilarino JTWROS                                have any changes or
                                                                                                                                           corrections.
                      Account Address                                          3672 Bayview Rd
                                                                                                                                           For more information, please
                      City, State zip                                          Coconut Grove, FL 33133-6503                                refer to the UBS Deposit
                                                                                                                                           Account Sweep Program
                      Cards and Checks for this account, if requested, will    3672 Bayview Rd                                             Disclosure Statement.
                      be mailed to this address:                               Coconut Grove, FL 33133-6503
                                                                                                                                           Please note: the account risk
                      Primary Account Holder                                   Lorenzo Esteva                                              profile and investment
                                                                                                                                           objective below are specific only
                      Joint Owner W/Rights Of Sur                              Denise Otero Vilarino                                       to this account: other accounts
                                                                                                                                           may have different account risk
                                                                               UBS will not disclose your name, address and security       profiles and investment
                      Disclosure of Beneficial Ownership                       position to issuers of any securities held in your          objectives.
                                                                               Account.
                                                                                                                                           Your Account Risk Profile for
                      Margin                                                   Yes                                                         this particular account is defined
                                                                                                                                           as:
                      You have agreed that the Margin Agreement in the Completing Your Account Opening Process                             Aggressive: Willing to accept
                                                                                                                                           high risk to principal and high
                      package governs your use of margin in this account and all other accounts you have now or any                        volatility to seek high returns over
                      accounts that you may open in the future. As described in the Margin Agreement, certain securities                   time.
                      in your Account may be loaned to UBS or to other persons or entities.                                                Different accounts may have
                                                                                                                                           different risk profiles
                      Cost Basis Method                                        First In,First Out                                          Your Investment Objective,
                                                                                                                                           Produce a Combination of
                                                                                                                                           Income and Capital
                      Features and Services                                                                                                Appreciation: Investments
                                                                                                                                           seeking both the generation of
                      Checking                                                 VISA Debit (No Rewards points)                              income and growth of principal.

                      VISA Credit (W/Rewards points)                           EFT Web Incoming/Outgoing                                   A senior political official is
                                                                                                                                           defined as a President or Vice
                      Bill Pay Web                                             Premier- RMA / BSA                                          President, Cabinet Member,
                                                                                                                                           Supreme Court Justice,
                                                                                                                                           member of the Joint Chief’s
                      Account Objectives and Risk Profile                                                                                  Staff, Member of Congress or
                                                                                                                                           a Parliament, Chairperson,
                                                                                                                                           Head or Senior Leader of a
                      Account Risk Profile                                     Aggressive/Speculative                                      major religious organization,
                          Your answers to our profiling questions:                                                                         or the like.
                          Risk Tolerance                                       High Risk
                                                                               Produce a combination of income and capital
                          Investment Objective
                                                                               appreciation
                          Risk/Return Objectives                               Higher Fluctuations, Higher Returns
                          Investment Time Horizon                              Longer than 10 years (through several market cycles)
                      Short-Term Liquidity Needs                               No
                      Sweep Account Election
                         Primary Sweep Fund                                    UBS BANK USA DEPOSIT ACCOUNT
                         Sweep Cap Election                                    Yes
                         Cap Amount                                            $500000.00
                         Secondary Sweep Fund                                  UBS AG DEPOSIT ACCOUNT
                      U.S. Senior Political Affiliation: You have indicated that no account holder, an authorized signatory, beneficial
                      owner, trustee, power of attorney, or other individual with authority to effect transactions, or any of their
                      immediate family members or close associates is a Current U.S. Political Official.
                      Non-U.S. Senior Political Affiliation: You have indicated that no account holder, an authorized signatory,
                      beneficial owner, trustee, power of attorney, or other individual with authority to effect transactions, or any of
                      their immediate family members or close associates is a Current or Former non-U.S. Political official or non-U.S.
                      Religious Group/Organization or Senior/Influential representative of a non-U.S. Religious Group/Organization.




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Account Information




                                                                                                                                  Account Information
                      Source of Funds in the Account
                      You have indicated the following as the source of
                      funds for this account:
                      Income from current or previous employment or
                      business

                      Electronic Delivery Features
                      Electronic Delivery of Shareholder Communications: You have elected to receive shareholder communications
                      via electronic format in this UBS account. Please refer to Client Relationship Agreement for Terms and
                      Conditions of this service.
                      E-mail Address                                       estevlo@gmail.com

                      UBS Credit Card Profile (With Rewards points)
                      Applicant                                            LORENZO ESTEVA
                      Co-Applicant                                         DENISE OTERO VILARINO
                      UBS Card Program                                     UBS Visa Signature Credit Card
                      Card Security Contact Phone Number (Applicant)       (305) 613-1780
                      Card Security Contact Phone Number (Co-Applicant)    (305) 613-1780


                      UBS Debit Card Profile (No Rewards points)
                      Applicant                                            LORENZO ESTEVA
                      Co-Applicant                                         DENISE OTERO VILARINO
                      Card Security Contact Phone Number (Applicant)       (305) 613-1780
                      Card Security Contact Phone Number (Co-Applicant)    (305) 613-1780




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                                                                                                                                                                          UBS Client Relationship Agreement
                               UBS Client Relationship Agreement
                               Introduction

                               At UBS, we understand that we succeed only when our clients succeed. With that in mind,          This column contains important
                               we provide a customized approach to wealth management, built on your personal                    definitions applicable to our
                               relationship with your Financial Advisor and shaped by an understanding of your needs            Agreement with you
                               and aspirations.
                                                                                                                                "Accounts" refers to all securities
                               Known as the Client Relationship Agreement, this document outlines the terms and                 accounts, brokerage accounts,
                               conditions of your relationship with us. By maintaining your Accounts at UBS, you agree to       margin accounts, deposit accounts,
                               these terms and conditions and the other agreements and disclosures we refer to here. If         or other accounts you open with UBS
                               signatures are required, please return the signed signature page in the enclosed envelope.       Financial Services Inc. or UBS
                                                                                                                                Financial Services Incorporated of
                               To confirm that our records are complete, we will send you a record of the information you       Puerto Rico now or in the future.
                               give us after you open a new Account. Please review the Client Information and Account
                               Information pages of the Completing Your Account Opening Process package and notify              We refer to the Client Relationship
                               us promptly if there are any updates or corrections.                                             Agreement together with all other
                                                                                                                                agreements and disclosures that we
                               Please note: this Client Relationship Agreement applies to all of your Accounts at UBS,          make available to you, and any
                               including any Accounts you may already have with us and Accounts you may open in the             amendments, as our "Agreement”
                               future. You will not receive another copy of the Client Relationship Agreement or the            with you for your Accounts.
                               Agreements and Disclosures unless there are updates and amendments, or if we require
                               your signature on this Agreement when you open Accounts in another capacity. Some of             We also refer to the “Completing
                               the information in this document and the other agreements and disclosures we send you            Your Account Opening Process”
                               may not apply to you now. Please retain these documents for future reference because             package, which includes Signature
                               they contain important information if you decide to add services or open new Accounts.           Pages, optional forms and other
                                                                                                                                required documents.
                               The terms and conditions in this Client Relationship Agreement apply to all Accounts you
                               open with UBS Financial Services Inc. or UBS Financial Services Incorporated of Puerto Rico      If a Signature Page is included, please
                               or any other introducing broker-dealer that has a clearing agreement with UBS Financial          have all named account holders sign
                               Services Inc. In addition, we will send you other agreements and disclosures for the services    the Signature Page and return it to
                               you choose when you open your account, as well as features you may add in the future.            us in the enclosed envelope.
                               We refer to all these documents, including any amendments, as the Agreements and
                               Disclosures booklet.

                               Your acceptance of your initial Client Relationship Agreement will serve as your agreement        "You,” “your” and “yours” refer to
                               to the terms and conditions governing any new Accounts, features or services. Deposits of        you as a client of UBS.
                               cash or securities and your continued use of your UBS Accounts constitute your agreement
                               to all of the terms and conditions applicable to your Accounts. If you do not agree to the       “UBS,” “we,” “us,” “our” and “ours”
                               terms and conditions, you may cancel a feature or service or close your account. Your UBS        refer to UBS Financial Services Inc.
                               Accounts do not permit you to engage in any transactions involving a commodity interest          and unless we indicate otherwise in
                               unless and until you complete additional agreements with us specifically permitting those        this Agreement, its successor firms,
                               transactions.                                                                                    subsidiaries, correspondents and
                                                                                                                                Affiliates, including its parent
                               As a UBS client, you may decide to open additional Accounts or take advantage of services        company, UBS AG.
                               and account features in the future. With some exceptions, you will be able to do so
                               without signing additional documents or agreements. Upon approval of your accounts and           "Affiliates" refers to UBS Financial
                               services, we will confirm your requests in writing and provide any relevant agreements and       Services Incorporated of Puerto Rico
                               disclosures you have not already received. Any authorization of features and services you        (which clears through UBS Financial
                               give us will remain in effect until a reasonable time after you notify us to terminate the       Services Inc.), UBS Bank USA, UBS
                               feature or service.                                                                              Credit Corp., UBS Trust Company,
                                                                                                                                N.A. and their insurance agency
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                               It is important to note that when we act as your broker-dealer, we do not enter into a           affiliates and subsidiaries and all
                               fiduciary relationship with you, regardless of the fee structure you select. Except in special   other subsidiaries and affiliates.
                               circumstances, we are not held to the same legal standards that apply when we have a
                               fiduciary relationship with you, as we do when providing investment advisory services. We
                               will effect transactions for your brokerage Accounts only as instructed by you, and neither
                               UBS Financial Services Inc. nor your Financial Advisor will have any discretion over your
                               Accounts.


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                                                                   Client Relationship Agreement (CRA)
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UBS Client Relationship Agreement




                                    Representations

                                    By signing a Client Relationship Agreement, you make the following representations:              Please review and verify the
                                                                                                                                     information about you and your
                                    •   You are at least 18 years old or have reached the age of majority according to the laws      Accounts in the “Completing Your
                                        of the state in which you reside and the laws of the State of New York.                      Account Opening Process” package.
                                                                                                                                     If you have questions, changes or
                                    •   You have notified us if you, your spouse or any beneficial owner of the Account(s) are       corrections, call your Financial
                                        or become employed by any of the following: a member firm of FINRA or other                  Advisor.
                                        exchange (including broker/dealer subsidiary of a bank, insurance company or other
                                        financial institution), or securities or commodities exchange or self-regulatory
                                        organization or any of their affiliated organizations or UBS's independent auditor. You
                                        agree to notify us promptly of any changes.

                                    •   No one other than you, and the individuals identified to UBS in connection with the
                                        opening of the Account, has or will have an interest in your Account unless you notify
                                        us in writing and UBS Financial Services Inc. agrees to continue to carry the Account.

                                    •   All of the personal and financial information you have supplied to UBS is true and
                                        accurate, and you will notify UBS promptly of any material changes, particularly the
                                        information regarding your residence, financial situation, investment objectives or tax
                                        status.

                                    •   You understand that UBS provides financial and investment services only and does not
                                        provide legal or tax advice.

                                    •   You represent that all reporting and tax associated obligations have been and will
                                        continue to be fulfilled by you and all beneficial owners, as applicable, with respect to
                                        any assets deposited in the Accounts.

                                    •   If you are acting as executor, trustee, conservator, guardian or custodian:

                                        –   You understand that you are a fiduciary on behalf of the beneficial owners
                                            of the Account and that you have a duty to use the services and features
                                            provided through the Account for the benefit of the beneficial owners of
                                            the Account and not for your own benefit.

                                        –   You acknowledge that you will make an independent determination that
                                            any activity in the Account is suitable, complies with any investment
                                            restrictions or guidelines under applicable law and is appropriate for the
                                            beneficial owners and that the compensation we receive is reasonable.

                                        –   You understand and agree that this determination is solely your
                                            responsibility and not ours.




                                                                                                                                                                             de 0250 3710 7420 11/25/2015
                                    Fees and Charges

                                    As a client of UBS, you agree to pay all fees and charges relating to your accounts for any      Please refer to the Fees and Charges
                                    transactions or services you receive from us, such as annual service fees, brokerage fees for    section of the Agreements and
                                    securities transactions, fees for specific services you request and fees or charges by a third   Disclosures booklet or more
                                    party that we incur in the course of providing services to you.                                  information about fees and charges.
                                                                                                                                     If you have questions, please contact
                                    All fees and charges are subject to change at any time. Fees and charges will be charged to      your Financial Advisor.
                                    your accounts and may be satisfied, along with any other amounts you owe us, from free
                                    credit balances, margin and other assets in any of your accounts. We may sell assets in
                                    your Account to satisfy debit balances for any amounts due, including those resulting from
                                    unpaid fees and charges.




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                                                                                                                                                                           UBS Client Relationship Agreement
                               Individual Retirement Accounts

                               The Agreements and Disclosures booklet contains the UBS IRA Custodial Agreements and               The features and fees of your IRA are
                               the IRA Disclosure Statements that apply to any Traditional, Roth, SEP or SIMPLE Individual        fully described in the Agreements
                               Retirement Accounts (IRAs) you open with us now or in the future. If we make changes to            and Disclosures booklet.
                               the UBS IRA Custodial Agreement and the IRA Disclosure Statement we will send you
                               updated documents, and you agree to be subject to those updated terms and conditions.              Please note: UBS does not extend
                                                                                                                                  margin for Individual Retirement
                               According to the UBS IRA Custodial Agreements, UBS Financial Services Inc. is named as             Accounts.
                               the custodian of your IRA when we accept the Account. At your death, the beneficiary or
                               beneficiaries whose name(s) are shown on the Account Information pages of the                      Employers with a SEP IRA or SIMPLE
                               Completing Your New Account Process package will become entitled to your IRA.                      IRA plan for their businesses must
                                                                                                                                  sign a separate plan document. We
                               Beneficiaries must be named in writing. Your written designation may apply to future               accept any approved plan
                               accounts, and in that case, we will confirm your designation in the Completing Your                documents, known as prototypes,
                               Account Opening Process package. If you do not designate beneficiaries, or your                    whether they were produced by UBS,
                               beneficiary designation does not effectively dispose of the assets, your beneficiary with          an IRS model or a document from
                               respect to the IRA or any part of the IRA not effectively disposed of, will be your surviving      another provider. If you would like to
                               spouse, or your estate if you do not have a surviving spouse.                                      use a UBS prototype, please ask for a
                                                                                                                                  copy of the SEP IRA Plan or SIMPLE
                               You may be charged a Custodial Account fee in connection with this IRA.                            IRA Plan prototype document from
                                                                                                                                  your UBS Financial Advisor.
                                If this IRA account is funded via transfer from another financial institution, you represent
                               that all transfers to this account originate from (1) an IRA in the same name and of the
                               same type (e.g. traditional, Roth), (2) an inherited IRA in the same name and of the same
                               type, or (3) a qualified plan account which you were entitled to rollover to an IRA.

                               You agree that if you roll over assets of a qualified plan to a UBS IRA now or in the future,
                               you are responsible for reviewing the options available and evaluating the investment and
                               non-investment considerations described in the enclosed IRA Rollover Disclosure. You are
                               responsible for reviewing, understanding and making an independent decision with respect
                               to the fees and costs associated with a UBS IRA. You also understand that none of the
                               information provided to you by UBS or its employees about rolling over to an IRA is
                               provided as part of any existing fiduciary relationship to your employer's plan under ERISA
                               and that neither UBS nor its employees act as an ERISA fiduciary in supplying such
                               information.

                               Accounts with Cash Management Features

                               The Agreements and Disclosures booklet contains the terms and conditions that apply to             UBS offers a variety of accounts with
                               the cash management features you may select. All requests to enroll in cash management             cash management features, including
                               features are subject to approval. We consider your continued use of your Account as your           the Resource Management
                               acceptance of the applicable terms and conditions.                                                 Account® (RMA), Business Services
                                                                                                                                  Account BSA® (BSA) and
                               There are important differences in the cash management features and other services that            International Resource Management
                               are available to U.S. residents through UBS accounts and those that are available to clients       Account® (IRMA®).
                               who reside outside the U.S. For example, we have different sweep programs for uninvested
                               cash and different Card programs for these accounts. This agreement and the Agreements
                               and Disclosures booklet describe which programs apply to which types of accounts.

                               Verbal Authorization to Upgrade or Add Cash Management Features to an Account
                                                                                                                                  Cash management features available
                               For any account you have with us now or may open in the future, we may accept verbal               for eligible accounts include:
                               requests to upgrade or add cash management features to your Account. Generally, we                 • Check writing
                               permit any authorized person to provide verbal instructions to upgrade or add services to          • Debit cards
de 0250 3711 7421 11/25/2015




                               your Account unless you instruct us otherwise. In some circumstances, we may ask you or            • Credit cards
                               another person who is named on the account to sign additional documents or provide                 • Rewards programs
                               additional information for those additional features. We will provide you updated terms            • Bill Payment
                               and conditions for the services you request if we have not already sent them to you or             • Electronic Funds Transfer
                               another owner of the Account. We consider your use of the Account as your acceptance of            • Margin loans
                               the applicable terms and conditions.

                                                                                                                                  Sweep Options" refers to the options
                                                                                                                                  made available by UBS for the
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UBS Client Relationship Agreement




                                    Our Sweep Options and Your Sweep Election                                                       automatic investment or deposit
                                                                                                                                    ("sweep") of available cash balances
                                    As a service to you, we offer options for the automatic investment or deposit of available      in your Account. Sweep Options
                                    cash balances ("sweep") in your Accounts. Current Sweep Options include the UBS Bank            include the UBS Bank Sweep
                                    Sweep Programs and the Sweep Funds. The available Sweep Options and their features,             Programs, the Sweep Funds, the
                                    and the eligibility of an Account for a specific Sweep Option varies by the type of Account     Puerto Rico Short Term Investment
                                    you open, the services you select, the type of entity you are and your country of residence.    Fund, the International Deposit
                                                                                                                                    Account Sweep Program and any
                                    We may change or discontinue our sweep service at any time, including changing the              other sweep investments we may
                                    terms and conditions of the sweep service and adding or discontinuing specific Sweep            make available from time to time for
                                    Options. We may establish criteria for Sweep Options offered to different clients, including,   eligible Accounts.
                                    but not limited to, establishing minimum asset requirements for clients to qualify for
                                    specific Sweep Options.                                                                         "Sweep Funds" refers to one or more
                                                                                                                                    of the UBS money market funds
                                    By signing this Client Relationship Agreement you authorize and direct us to deposit or         made available as a Sweep Option.
                                    invest your available cash balances on each business day in your Sweep Option and to            Sweep Funds are described in the
                                    withdraw your funds from, or liquidate your shares in your Sweep Option, as described in        respective prospectuses for the UBS
                                    this section and in the General Terms and Conditions in the Agreements and Disclosures          RMA Funds, UBS Cashfund, UBS
                                    booklet, and any amendments. As set forth in the Introduction above, such authorization         Retirement Money Market Funds and
                                    applies to all of your Accounts at UBS, including any Accounts you may open in the future.      the UBS Select Capital Money Market
                                                                                                                                    Funds.
                                    If we have not received such authorization from you, under applicable law we may not be
                                    permitted to begin sweeping your available cash balances into your Sweep Option or, if we
                                    have begun sweeping your available cash balances, we may be required to stop. If
                                    available cash balances in your Account are not swept for any reason, available cash
                                    balances will not be invested, and we are not required to pay you interest on cash balances     The "UBS Bank Sweep Programs"
                                    in your Account.                                                                                collectively refers to the UBS Deposit
                                                                                                                                    Account Sweep Program (the
                                    Please refer to the UBS Bank Sweep Programs Disclosure Statement for a description of the       "Deposit Program") and the UBS
                                    eligibility requirements for the UBS Bank Sweep Programs. If your Account is not eligible       Business Account Sweep Program
                                    for the UBS Bank Sweep Programs, you may select an available Sweep Fund as the Sweep            (the "Business Program") as more
                                    Option for your Account.                                                                        fully described in the UBS Bank
                                                                                                                                    Sweep Programs Disclosure
                                    For Accounts eligible for one of the UBS Bank Sweep Programs, unless you are eligible for       Statement.
                                    and select an available tax-advantaged Sweep Fund, your Sweep Option will be one of the
                                    UBS Bank Sweep Programs.                                                                        UBS Bank USA (Member FDIC) ("Bank
                                                                                                                                    USA"),is an FDIC-member bank
                                    In general, most clients with a Resource Management Account® (RMA®), Individual                 affiliate of UBS.
                                    Retirement Account (IRA), Basic Investment Account, Business Services Account® (BSA®),
                                    Coverdell Education Savings Account and certain Investment Advisory Accounts will be            UBS AG, Stamford Branch ("AG
                                    eligible for one of the UBS Bank Sweep Programs. Eligibility is based primarily upon the        Stamford Branch") is a US branch of
                                    type of client. Most non-business clients and employee benefit plans qualified under            UBS AG, a Swiss Bank that is the
                                    Section 401(a) or Section 403(b)(7) of the Internal Revenue Code of 1986, as amended, or        parent of UBS Financial Services Inc.
                                    under any other employee retirement or welfare plan subject to the Employee Retirement          and UBS Financial Services
                                                                                                                                    Incorporated of Puerto Rico.




                                                                                                                                                                               de 0250 3711 7422 11/25/2015
                                    Income Security Act of 1974, as amended (ERISA) (Plans) are eligible for the Deposit
                                    Program. In cases where a participant in a Plan has established a Securities Account for
                                    purposes of participation in the Plan (each a Plan Participant), the Plan Participant will be   For clients other than Plans and Plan
                                    eligible for the Deposit Program. Most business clients are eligible for the Business           participants, the "Bank USA Sweep
                                    Program.                                                                                        Cap" is $250,000 per Securities
                                                                                                                                    Account owner. For Plans and Plan
                                    The UBS Bank Sweep Programs                                                                     participants, the Bank USA Sweep
                                                                                                                                    Cap is $250,000 per Securities
                                    Through each of the UBS Bank Sweep Programs, available cash balances in each eligible           Account.
                                    Account are automatically deposited into deposit accounts at Bank USA up to the Bank
                                    USA Sweep Cap. Available cash balances in excess of the Bank USA Sweep Cap will be               Please refer to the UBS Bank Sweep
                                    automatically swept without limit to your Secondary Sweep Option.                               Programs Disclosure Statement for
                                                                                                                                    important information about how
                                    Unless you select an available Sweep Fund, the Secondary Sweep Option for eligible              the UBS Bank Sweep Programs work,
                                    Accounts other than Investment Advisory Accounts is deposit accounts at AG Stamford             how the Bank Sweep Cap is
                                    Branch. Investment Advisory Accounts will not sweep to the AG Stamford Branch; instead          determined, eligibility, interest rates,
                                                                                                                                    withdrawal limits, FDIC insurance and
                                                                                                                                    your relationship with UBS, Bank USA
                                                                                                                                    and AG Stamford Branch. You


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                               the Secondary Sweep Option for Investment Advisory Accounts will be an available Sweep         should review the Disclosure
                               Fund.                                                                                          carefully.

                               Funds in deposit accounts at AG Stamford Branch are not eligible for FDIC                      "Secondary Sweep Option" refers to
                               insurance or protection by SIPC. Sweep Funds are not FDIC-insured, not guaranteed by           deposit accounts at AG Stamford
                               a bank, are sold by prospectus only and may lose value.                                        Branch or one of the available Sweep
                                                                                                                              Funds.
                               Deposits held at Bank USA through the Business Program are subject to monthly
                               withdrawal limits, as described in the UBS Bank Sweep Programs Disclosure Statement. If        "Investment Advisory Account" refers
                               your withdrawals in a month reach the limit, all funds on deposit through the Business         to an Account enrolled in any of the
                               Program will be withdrawn from Bank USA and transferred into your Secondary Sweep              following investment advisory
                               Option and available cash balances will sweep to your Secondary Sweep Option for the           programs: Managed Accounts
                               remainder of the month. These funds, up to the Bank USA Sweep Cap, will be transferred         Consulting Program, Portfolio
                               back to Bank USA on the first business day of the following month.                             Management Program, ACCESS,
                                                                                                                              Managed Portfolio Program, UBS
                               FDIC Insurance Coverage and Limitations: If you have more than one Account that                Strategic Wealth Portfolio, UBS
                               sweeps to Bank USA, the amount deposited at Bank USA may exceed the amount covered             Strategic Advisor, and Private Wealth
                               by FDIC insurance (currently $250,000 per insurable capacity). You are responsible for         Solutions and such other programs as
                               monitoring the total amount of deposits that you have with Bank USA to                         UBS may add from time to time.
                               determine the extent of FDIC deposit insurance coverage available to you. Please
                               refer to the UBS Bank Sweep Programs Disclosure Statement for more detailed information        Please refer to the section
                               regarding the UBS Bank Sweep Programs and FDIC insurance.                                      "International Accounts" for
                                                                                                                              information about the sweep option
                               Alternatives to the UBS Bank Sweep Programs                                                    for the International RMA.

                               With the exception of tax-advantaged Accounts and Basic Investment Accounts, if you are
                               eligible to participate in one of the UBS Bank Sweep Programs, but do not wish to have
                               your available cash balances deposited with Bank USA, you may elect at any time to have
                               your available cash balances swept without limit to a tax-advantaged Sweep Fund or, for
                               Puerto Rico residents only, the Puerto Rico Short Term Investment Fund, Inc.

                               The following tax-advantaged Sweep Funds currently are available:

                               •    UBS RMA Tax-Free Fund Inc.
                               •    UBS RMA California Municipal Money Fund
                               •    UBS RMA New York Municipal Money Fund
                               •    The Puerto Rico Short Term Investment Fund, Inc.
                               •    UBS Select Tax-Free Capital Fund (subject to minimum asset requirements)

                               State-specific municipal funds are intended for residents of those states only. The Puerto
                               Rico Short Term Investment Fund, Inc. is offered exclusively to Puerto Rico residents as
                               defined in the fund's prospectus. The Puerto Rico Short Term Investment Fund is not a
                               money market fund registered under the U.S. Investment Company Act of 1940, does not
                               comply with rules applicable to U.S. registered funds, presents a higher degree of risk than
                               those funds, and is for Puerto Rico residents holding accounts with UBS Financial Services
                               Incorporated of Puerto Rico only. The Puerto Rico Short Term Investment Fund and the
                               Sweep Funds are sold by prospectus only, and are not FDIC-insured, not guaranteed by
                               a bank, and may lose value.

                               If your Account is tax-advantaged, or is a Basic Investment Account, whether
                               tax-advantaged or not, you are not eligible to select a tax-advantaged Sweep Fund as a
                               Sweep Option. Tax-advantaged Accounts include, but are not limited to, Accounts of
                               Plans, Plan Participants and IRAs. If your tax-advantaged Account or Basic Investment
                               Account is not an Investment Advisory Account, and you choose not to participate in a
                               Bank Sweep Program, available cash balances will not be invested and we are not required
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                               to pay you interest on cash balances in your Account. If your tax-advantaged Account or
                               Basic Investment Account is an Investment Advisory Account, available cash balances must
                               be swept through a Bank Sweep Program.

                               Changing Your Sweep Option

                               You may change your sweep election to an available alternative Sweep Option at any time.
                               By instructing us to change your sweep election, you are authorizing and directing us to

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                                    redeem your Sweep Fund shares, or withdraw funds from one of the UBS Bank Sweep
                                    Programs, and transfer the funds to your new Sweep Option. You may change your sweep
                                    election by contacting your Financial Advisor.

                                    For additional information regarding program availability and Account eligibility, please
                                    refer to the UBS Bank Sweep Programs Disclosure Statement and the UBS International
                                    Deposit Account Sweep Program Disclosure in the Agreements and Disclosures booklet,
                                    and to the prospectuses for the Sweep Funds and the Puerto Rico Short Term Investment
                                    Fund.

                                    Institutional Sweep Funds and Automatic Exchanges

                                    We may offer Institutional Sweep Funds as Sweep Options or Secondary Sweep Options                 "Institutional Sweep Funds" refers to
                                    for clients (except for Plans and IRAs in investment advisory programs) who meet certain           one or more of the UBS money
                                    minimum asset thresholds. Current eligibility criteria may be obtained from your Financial         market funds made available by UBS
                                    Advisor. UBS may change the eligibility criteria at any time in its discretion without notice      to clients who meet certain minimum
                                    to you. Institutional Sweep Funds will generally offer a higher yield than other Sweep             asset thresholds.
                                    Funds, though there is no guarantee that the yield will be, or will remain, higher.

                                    If you are eligible for an Institutional Sweep Fund as either your Sweep Fund or your
                                    Secondary Sweep Option for one of the Bank Sweep Programs, we will liquidate your
                                    shares in your current Sweep Fund or your Secondary Sweep Option, as applicable, and
                                    purchase shares in the Institutional Sweep Fund with the same investment objectives
                                    without direction from you. Thereafter, your Sweep Fund or Secondary Sweep Option, as
                                    applicable, will be the Institutional Sweep Fund. Once an Account’s Sweep Option or
                                    Secondary Sweep Option, as applicable, is an Institutional Sweep Fund and a first purchase
                                    has been made into the Fund, that Institutional Sweep Fund will remain the Account’s
                                    Sweep Option or Secondary Sweep Option even if the Account’s Marketing Relationship
                                    assets cease to meet the minimum asset thresholds for that Institutional Sweep Fund.

                                    Clients other than Plans and Plan Participants

                                    Your eligibility for the Institutional Sweep Funds will be determined at the end of each
                                    month, based on the value of your Marketing Relationship assets as determined in the sole
                                    discretion of UBS. If the value of your Marketing Relationship assets reaches the minimum
                                    asset threshold at any time other than the end of the month, you will not be eligible for an
                                    Institutional Sweep Fund.

                                    Plans and Plan Participants
                                                                                                                                       "QP Relationship assets" is defined in
                                    A Plan's eligibility for the Institutional Sweep Funds will be determined at the end of each       the UBS Bank Sweep Programs
                                    month, based on the value of the Plan's QP Relationship assets, as determined in the sole          Disclosure Statement.
                                    discretion of UBS. A Plan Participant's eligibility for the Institutional Sweep Funds will be
                                    determined at the end of each month, based on the greater of the value of the Plan's QP




                                                                                                                                                                                de 0250 3712 7424 11/25/2015
                                    Relationship assets and the Plan Participant's Marketing Relationship assets, both as
                                    determined in the sole discretion of UBS. If the value of a Plan's QP Relationship assets or a
                                    Plan Participant's Marketing Relationship assets reaches the minimum asset threshold at
                                    any time other than the end of the month, the Plan or Plan Participant will not be eligible
                                    for an Institutional Sweep Fund.




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                                                                                                                                                                           UBS Client Relationship Agreement
                               Check Writing

                               Many UBS accounts incorporate a check writing feature. If you choose this feature for your         "Check Provider" is the provider and
                               account, you authorize us and our Check Provider to honor checks that bear your                    processor we have appointed to
                               signature(s) and unsigned drafts that are presented on the basis of separate written               handle payment of your checks and
                               authorization from you to the payee. These checks may be used only in conjunction with             drafts. We reserve the right to
                               your accounts and only up to the account's "Withdrawal Limit" as defined in the General            change check providers from time to
                               Terms and Conditions in the Agreements and Disclosures booklet. We will deduct funds               time.
                               from your Accounts and reimburse the Check Provider in federal funds when checks or
                               drafts are presented to the Check Provider. We may delay or deny payment if there are
                               insufficient available assets in your Account to cover payment on the day you write the
                               check or authorize the draft through the day on which we deduct funds from your
                               accounts to pay the check or draft.

                               Bill Payment and Electronic Funds Transfer Services

                               Many UBS accounts incorporate the Bill Payment and Electronic Funds Transfer services. If          The Bill Payment and Electronic Funds
                               you enroll in these services, you authorize UBS and its processing bank to effect the types        Transfer Service Agreement is located
                               of transactions described in the Bill Payment and Electronic Funds Transfer Service                in the Agreements and Disclosures
                               Agreement. This service agreement also applies to other electronic transfers to or from            booklet.
                               your Accounts, including transfers made with UBS CashConnect feature and certain
                               payments made through the Automated Clearing House ("ACH") system, even if you do                  Bill payments are only available to
                               not enroll in this service.                                                                        payees located in the U.S.

                                                                                                                                  Transfers through the ACH system
                                                                                                                                  are only available to and from
                                                                                                                                  accounts at financial institutions and
                                                                                                                                  banks within the U.S.

                               UBS Visa Debit Card for RMA or BSA

                               Brokerage accounts with cash management features include the UBS Visa Debit Card                   “Card Issuer” means UBS Bank USA,
                               (Card). If you choose this feature either verbally or in writing, you will be issued one or        its successors and assigns, or the
                               more Card(s) by the Card Issuer. UBS or the Card Issuer will complete any transactions you         issuer of UBS Cards we appoint in
                               initiate using the Card(s). The Card Issuer will approve transactions up to your account’s         our sole discretion.
                               “Withdrawal Limit,” as described in the Agreements and Disclosures booklet.                        Your UBS Visa Debit Card(s) will be
                                                                                                                                  mailed to you under separate cover
                               You agree to maintain sufficient available assets in your account to make payment in full,
                               and transactions may be denied if there are insufficient assets in your account to make full       after your Account has been
                               payment for any Card transactions as they are processed. As your Card cash withdrawals             approved.
                               are processed, we will deduct funds from your Account to reimburse the Card Issuer. Once
                               each calendar month and effective August 1, 2015 once each business day, we will deduct
                               from your Account the amount of purchases made with the Card that have been received
                               by the Card Issuer but not yet deducted from your Account. The Card Issuer may suspend
                               or cancel Cards if there are insufficient assets to cover transactions. Your use of the Card
                               constitutes your agreement to the terms and conditions in the UBS Visa Debit Card
                               Cardholder Agreement, which is included in the Agreements and Disclosures booklet.

                               UBS Credit Card for RMA or BSA
                                                                                                                                  Your UBS Credit Card(s), if approved
                                                                                                                                  for issuance by the Card Issuer, will
                               You may apply for a UBS Visa Signature credit card or UBS Preferred Visa Signature credit
                                                                                                                                  be mailed to you under separate
                               card (Credit Card) either verbally or in writing. If your application is approved by the Card
                                                                                                                                  cover after your Account has been
                               Issuer, you will be issued one or more Credit Cards. We will bill transactions made with
                                                                                                                                  approved.
                               your Credit Card separately from your eligible brokerage account. You may pay your
                               Credit Card balance automatically each month from your eligible brokerage account, or
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                                                                                                                                  Express Delivery: If you are
                               you may pay the bill from other sources or allow a balance to revolve. The Credit Card
                                                                                                                                  approved for an account and your
                               terms and conditions describes rates, fees and other costs for the Credit Card. The Card
                                                                                                                                  card was requested next day delivery,
                               Issuer will issue and manage your Credit Card according to Utah law and the UBS Credit
                                                                                                                                  your card will be sent the next day
                               Card Cardholder agreement (Credit Card Agreement). The Card Issuer will include the
                                                                                                                                  after your account is opened if the
                               Credit Card Agreement with your Credit Card.
                                                                                                                                  request is made before 3:00 p.m.
                                                                                                                                  Eastern time of that day. A signature
                               Your use of the Credit Card constitutes your agreement to the terms and conditions in the
                                                                                                                                  is required for Express Delivery.
                               Credit Card Agreement, which may change occasionally. The Credit Card is not subject to
                               the General Terms and Conditions of this UBS Client Relationship Agreement. To fulfill
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                                    your application for a Credit Card, we will share the personal information the Card Issuer       The information contained in these
                                    requires to open your Credit Card Account, and we share your personal information such           disclosures is accurate as of
                                    as application data, approval status and transaction information on a regular basis to           04/04/2012 and may change after
                                    update your UBS monthly account statement and our records.                                       this date.

                                    When you request a Credit Card, the Card Issuer will obtain a credit report as part of your      The UBS Credit Card is not available
                                    application and after it establishes your Credit Card account to administer your Credit Card     with the International RMA.
                                    account and report its credit experience with you to others. At your request, the Card
                                    Issuer will provide the name and address of each consumer reporting agency from which it         The Credit Card terms and
                                    obtained a report about you. After your Credit Card account is open, you will have the           conditions describe the fees for the
                                    opportunity to select how the Card Issuer can use or share information about you for             UBS Credit Card.
                                    marketing or Credit Card account maintenance purposes.

                                    Any disputes you may have with the Card Issuer will be resolved by binding Arbitration. For
                                    more information regarding Arbitration please consult the UBS Credit Card Agreement.

                                    By requesting Credit Card, you agree with the following statements:

                                    •    I (we) am at least 18 years old and a permanent resident of the United States.

                                    •    I (we) have reviewed and agree to the Important Information about the UBS Credit
                                         Card Account Terms and Conditions that was provided with this Client Relationship
                                         Agreement.

                                    •    All information provided to UBS and the Card Issuer was truthful and complete.

                                    International Accounts

                                    Please note: The International RMA and certain of its cash management features and other         The features and fees of your
                                    services are not available in all countries and may be changed at any time.                      International Resource Management
                                                                                                                                     Account are more fully described in
                                    In connection with your certification regarding purchases made in reliance on Regulation S,      the Agreements and Disclosures
                                    including off-shore mutual fund purchases, the definition of a U.S. Person is 1) any resident    booklet.
                                    of the United States; 2) any partnership or corporation organized in or under the laws of
                                    the United States; 3) any estate or trust in which the executor, administrator or trustee is a
                                    U.S. person and/or if the income from the estate or trust is subject to U.S. federal income
                                    taxation (regardless of the source of the income); 4) any corporation, partnership, estate,
                                    trust or other entity that is directly or indirectly controlled by one or more of the above
                                    categories of U.S. Persons; 5) any agency or branch of a foreign entity that is located in the
                                    U.S.; 6) any non-discretionary account (other than an estate or trust) held by a dealer or
                                    other fiduciary for the benefit or account of a U.S. Person; 7) any discretionary account
                                    (other than an estate or trust) held by a dealer or fiduciary that is a U.S. Person, not
                                    including those held for the benefit of a non-U.S. Person; 8) certain partnerships or
                                    corporations that are organized or incorporated under the laws of any non-U.S. jurisdiction




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                                    that have formed principally for the purpose of investing in securities not registered under
                                    the U.S. Securities Act of 1933; and 9) any other person or entity considered a U.S. Person
                                    for purposes of Regulations under the Securities Act of 1933.

                                    International Deposit Account Sweep Program

                                    The Sweep Option for International Accounts is generally the UBS International Deposit
                                    Account Sweep Program (IDA). The IDA is an interest-bearing account maintained by UBS
                                    AG at the Cayman Islands Branch where funds are invested into short-term deposits. If
                                    you are eligible and choose to participate in the IDA sweep program, free cash balances in
                                    your Accounts are automatically deposited into a demand deposit account at the New York
                                    Branch of UBS AG, from which funds are then swept and re-deposited each business day
                                    into an overnight deposit account at the Cayman Islands branch of UBS AG. As your
                                    agent, UBS Financial Services Inc. will make the necessary withdrawals from the New York
                                    deposit account to satisfy debits or charges in your Account in accordance with the
                                    General Terms and Conditions. You may choose to withdraw from the IDA Program at any
                                    time, however, your free cash balances in your Account at UBS Financial Services Inc. will
                                    not earn interest or dividends. Funds on deposit in the accounts at the New York and the
                                    Cayman Islands branches of UBS AG are not eligible for federal deposit insurance from the
                                    Federal Deposit Insurance Corporation (FDIC).
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                               A full description of the IDA Sweep Program is included in the Agreements and Disclosures       "Card Issuer" refers to UBS Bank
                               Booklet. At times, we may update or modify the terms of the IDA Sweep Program and/or            USA, its successors or assigns, or
                               change the Sweep Options we make available.                                                     the issuer of the UBS Card we
                                                                                                                               appoint in our sole discretion.
                               UBS Visa Debit Card®
                                                                                                                               The UBS Credit Card and the UBS
                               The International RMA includes the UBS Visa Debit Card (Card). If you are eligible for the      Rewards Program are not features
                               Card under applicable law and UBS policies and you request this feature either verbally or      of the International RMA.
                               in writing, you will be issued one or more Card(s) by the Card Issuer. UBS or the Card
                               Issuer will complete any transactions you initiate using the Card(s). Your use of the Card
                               constitutes your agreement to the terms and conditions in the UBS Visa Debit Card
                               Cardholder Agreement that is included in the Agreements and Disclosures booklet.

                               The Card Issuer will approve transactions up to your account’s “Withdrawal Limit,” as
                               described in the Agreements and Disclosures booklet. You agree to maintain sufficient
                               available assets in your account to make payment in full and understand that transactions
                               may be denied if there are insufficient assets in your account to make full payment for any
                               Card transactions as they are processed.

                               As your Card cash withdrawals are processed, we will deduct funds from your Account to
                               reimburse the Card Issuer. Once each calendar month and effective August 1, 2015 once
                               each business day, we will deduct from your Account the amount of purchases made with
                               the Card that have been received by the Card Issuer but not yet deducted from your
                               Account. The Card Issuer may suspend or cancel Cards if there are insufficient assets to
                               cover transactions.

                               Insurance Accounts

                               As a service to clients, we also offer accounts to maintain or permit the purchase of
                               insurance products and services. By signing the Signature Page for your non-brokerage
                               insurance account, you accept the Client Relationship Agreement and the other documents
                               referred to here, and as a result, you may be able to open brokerage accounts with us in
                               the future without having to sign additional agreements.

                               Joint Accounts

                               For joint accounts, each person or entity named on the Account has full power and
                               authority over the Account, and the account holders are jointly and severally liable for all
                               obligations with respect to the Account. Please refer to the ”Joint Accounts” section of the
                               General Terms and Conditions for more information about the terms and conditions that
                               apply to joint accounts.

                               When we open additional joint accounts for the same account holders, we establish them
                               with the same legal ownership as the most recently-opened joint account, unless we are
                               instructed otherwise. If you request a different form of ownership, we will request your
                               signature acknowledging that election. For example, if you open an account as joint
                               tenants with rights of survivorship, your next account with the same parties will also be
                               established as joint tenants with rights of survivorship, unless you tell us you want a
                               different type of ownership for that account.

                               Margin Agreement and Margin Requirements

                               All Accounts that you open now or in the future will be established with margin, if eligible,   If you do not want to establish
                               unless you instruct us that you do not want margin privileges for specific Accounts. By         margin for your current accounts or
                               signing the Signature Page for any Account except for an ERISA Plan or for an Estate, you       any accounts you open in the future,
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                               agree that the Margin Agreement governs your use of margin in all of your current               please contact your Financial Advisor.
                               Accounts and any Accounts that you may open in the future.
                                                                                                                               Please note: UBS does not extend
                               Therefore, if you do not establish margin privileges when you open an Account and later         margin for the following accounts:
                               decide to use margin, you may be able to do so without signing additional forms. Likewise,
                               if you cancel your margin privileges on an Account, your margin agreement with us will          •    Individual Retirement Accounts
                               remain in effect and you may request to use margin again at any time. In either event, we       •    ERISA Plans
                               will confirm your request.                                                                      •    Coverdell Education Savings
                                                                                                                                    Account
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                                    When you use your margin privileges, we hold your securities in your Account as collateral         •    403(b)(7) Accounts
                                    against the amounts you borrow, and your securities may be loaned to UBS or to others as           •    UGMA
                                    described in the Margin Agreement. In addition, margin-eligible Accounts are subject to            •    UTMA
                                    applicable statutes, rules, regulations, procedures or industry customs. We may deem it            •    Estate
                                    necessary or advisable to establish additional requirements for margin accounts. You agree         •    529 Plan Accounts
                                    to maintain sufficient assets to satisfy all applicable statutes, rules or regulations, or as we
                                    deem necessary or advisable. You also agree to maintain sufficient assets in your Account
                                    to satisfy any and all margin calls issued in connection with the Account.                         Hypothecation is the pledging of
                                                                                                                                       securities or other assets to secure a
                                    As long as your Account is a margin account, you authorize UBS in the usual course of              loan such as debit balance in a
                                    business to lend, pledge as collateral, hypothecate, relend or repledge any Property we            margin account.
                                    carry for you on margin, whether separately or together with Property of others, either to
                                    ourselves or to others. This authorization remains in effect until we receive payment for          “Property” includes, but is not limited
                                    such Property.                                                                                     to, securities, securities entitlements,
                                                                                                                                       investment property and financial
                                    When you use your margin privileges, as permitted by law, we may use certain securities in         assets, including without limitation,
                                    your account for, among other things, settling short sales and lending securities for short        money, stocks, options, bonds,
                                    sales. We may receive and retain compensation in connection with such transactions. If             notes, futures contracts,
                                    you are engaged in short selling a security, you may incur a charge due to certain                 commodities, commercial paper,
                                    borrowing costs for that particular security.                                                      certificates of deposit and other
                                                                                                                                       obligations, contracts, all other
                                    Subject to applicable rules and regulations, we may amend , the requirements applicable to         property usually and customarily
                                    your margin account at any time in our sole discretion, including changing the level of            dealt in by brokerage firms and any
                                    credit available to you and applicable maintenance requirements without notice to you. A           other property that can be recorded
                                    prior demand or call, or prior notice of the time and place of such sale or purchase shall         in any of your Accounts, as well as
                                    not be considered a waiver of our right to sell or buy without demand or notice as                 the Accounts themselves.
                                    described here. For additional terms, please refer to the section "Liquidation of Collateral
                                    or Account" below.                                                                                 Please refer to the UBS Statement of
                                                                                                                                       Credit Practices for additional
                                    We have the right to satisfy a margin call or to require or obtain full or partial payment of a    information.
                                    margin loan at any time without a demand for margin or additional margin or other notice.
                                    To satisfy a margin call or to obtain full or partial payment of the margin loan, in addition
                                    to all rights provided by law, we have the right to:
                                    1. require additional collateral,
                                    2. sell any Property in any of your Accounts with us, whether carried individually or
                                           jointly with others,
                                    3. buy any Property which may be held short in your Account,
                                    4. cancel any open orders and close any or all outstanding contracts, or
                                    5. liquidate any of your Accounts with us.

                                    We may also exercise these rights at any time in our sole and absolute discretion.

                                    You understand that there are substantial risks involved in trading securities on
                                    margin, using leverage as a liquidity source or as part of your investment strategy,




                                                                                                                                                                                  de 0250 3714 7428 11/25/2015
                                    or otherwise pledging your securities in order to obtain credit. Please review the
                                    Loan Disclosure Statement included in the Agreements and Disclosures booklet
                                    carefully for a detailed discussion of these risks.




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                               Security Interest

                               As security for the payment of all liabilities or indebtedness presently outstanding or to be    "UBS,” “we,” “us,” “our” and “ours”
                               incurred under this or any other agreement between you and any UBS Entity, including but         refer to UBS Financial Services Inc.
                               not limited to any loans or promissory notes, you hereby grant to each UBS Entity a security     and, unless we indicate otherwise in
                               interest in and lien on any and all Property held or carried by any UBS Entity for you or on     this Agreement, its successor firms,
                               your behalf in or credited to any UBS Account(s) (other than qualified plan or IRA accounts      subsidiaries, correspondents and
                               or other accounts where doing so would be a prohibited transaction or violation of               Affiliates, including without
                               applicable law or regulation) and in any other Account with any UBS Entity in which you          limitation, its parent company, UBS
                               may have any legal, equitable or other interest.                                                 AG.

                               All such Property will be subject to such security interest as collateral for the discharge of   "Affiliates” refers to UBS Financial
                               your obligations to any UBS Entity, wherever or however arising and without regard to            Services Incorporated of Puerto Rico
                               whether or not we made loans with respect to that Property. In enforcing our security            (which clears through UBS Financial
                               interest, we have the discretion to determine the amount, order and manner in which the          Services Inc.), UBS Bank USA, UBS
                               Property will be sold and have all the rights and remedies available to a secured party          Credit Corp., UBS Trust Company,
                               under the Uniform Commercial Code (UCC) in addition to all other rights provided in this         N.A. and their insurance agency
                               Agreement or by law.                                                                             affiliates and subsidiaries, and all
                                                                                                                                other subsidiaries and affiliates.

                                                                                                                                “UBS Entity” refers to UBS Financial
                                                                                                                                Services Inc. and each of these
                                                                                                                                Affiliates.

                               You will not cause or allow any of the Property held in any of your UBS Accounts, whether        “Securities Intermediary” means: 1) a
                               owned now or acquired later, to be or become subject to any liens, security interests,           clearing corporation; or 2) a person,
                               mortgages or encumbrances of any nature other than our security interest, without our            including a bank or broker, that in
                               prior written consent. Each UBS Entity shall act as agent for and on behalf of each UBS          the ordinary course of business
                               Entity for purposes of perfecting, maintaining and enforcing the security interests granted      maintains securities accounts for
                               hereunder or by operation of law. Each UBS Entity acting in the capacity of a deposit bank,      others and is acting in that capacity,
                               securities intermediary or commodities intermediary, agrees to follow the instructions and       as such terms are interpreted under
                               entitlement orders of each other UBS Entity with respect to the Property as a secured party      Section 8-102(a)(14) of the United
                               without further consent by you. You hereby authorize and direct each UBS Entity to follow        States Uniform Commercial Code.
                               the instructions and entitlement orders of each other UBS Entity.

                               Liquidation of Collateral or Account

                               We may satisfy any and all amounts you owe us in connection with any of your Accounts
                               or agreements with us, or any other agreement between you and any UBS Entity, including
                               but not limited to any loans, promissory notes or tax obligations, from Property we hold or
                               carry in any of your Accounts with us (other than qualified plan or IRA accounts or other
                               accounts where doing so would be a prohibited transaction or violation of applicable law
                               or regulation). Additionally, we may sell any or all Property held in any of your Accounts
                               with us and cancel any open orders for the purchase or sale of any Property without notice
                               in the event of your death or dissolution, or whenever in our discretion it is necessary for
                               our protection. In these instances, we may also borrow or buy-in all Property held in any of
                               your Accounts required to make delivery against any sale initiated for you. These sales or
                               purchases may be public or private and may be made without advertising or notice to you
                               and in the manner we determine in our sole discretion. You waive diligence, presentment,
                               protest, demand for payment and notice of nonpayment and further waive all other
                               notices and formalities to which you may be entitled under applicable law or otherwise, to
                               the extent the waiver of such notices and other formalities is permissible under applicable
                               law. Your waiver will not be invalidated by any demands, calls, tenders or notices that we
                               may make. At any sale, we may purchase the Property or any portion thereof free of any
                               right of redemption and you will remain liable for any deficiency in any of your Accounts,
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                               plus any accrued interest on the deficiency at our then customary rate, if applicable, or at
                               the maximum rate allowable by law. We will not be liable to you in any way for any loses
                               or adverse tax consequences resulting from a liquidation of your Property.




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                                    USA Patriot Act

                                    To help the government fight the funding of terrorism and money laundering activities,
                                    Federal law requires all financial institutions to obtain, verify and record information and
                                    documentation identifying each account holder. Therefore, when you open an Account,
                                    we ask for your name, address, date of birth and other identifying information about you.
                                    We may ask to see your driver’s license or other identifying documents. We may also
                                    screen your name against various databases to verify your identity. If we are unable to
                                    verify your identity, we may take any of the actions described under "Termination of your
                                    Account" in the General Terms and Conditions in the Agreements and Disclosures booklet.

                                    Credit Report

                                    You grant us permission to obtain a credit report when you open an account with us and
                                    to obtain updated credit or similar reports at any time during the time your account
                                    remains open. You grant us permission to check and verify your credit references and
                                    update all credit information we have obtained on you. We may provide any such credit
                                    report or other credit information we have obtained on you to our Card Issuers, Check
                                    Providers or to our affiliates, to enable them to provide additional products or services that
                                    may be of interest to you and to otherwise assist us in servicing, administering and
                                    maintaining your account and evaluating your financial needs.

                                    Your Privacy

                                    At UBS, we are committed to safeguarding your personal information. Please refer to the          Please see the UBS Client Privacy
                                    UBS Client Privacy Notice in the Agreements and Disclosures booklet, which describes the         Notice in the Agreements and
                                    personal information we collect about you and how we handle and protect it.                      Disclosures booklet for further
                                                                                                                                     information, including how to
                                    Subject to any applicable financial privacy laws and regulations, you acknowledge that we        opt-out of certain information
                                    share such personal financial data regarding you and your Accounts with our affiliates and       sharing.
                                    non-affiliates as is necessary or advisable to effect, administer or enforce transactions
                                    requested or authorized by you, or to service, process or maintain, your Accounts and all
                                    transactions related to or in connection with your Accounts.

                                    Disclosure of Beneficial Ownership

                                    The issuers of securities held in your Accounts may request your name, address and
                                    security position so that they may contact you directly for proxy voting and other
                                    shareholder communications. You may instruct us not to supply this information, in which
                                    case, you will receive information regarding those securities from UBS instead of the
                                    issuers. Your current instructions are reflected on the Account Information pages of the
                                    Completing Your Account Opening Process package. If you would like to change your
                                    instructions, please call your Financial Advisor.




                                                                                                                                                                         de 0250 3715 7430 11/25/2015
                                    As described in the section "Foreign Securities" in the General Terms and Conditions, we
                                    may share information about the beneficial ownership of foreign securities in your
                                    Accounts with the issuers of those securities, foreign government authorities of their
                                    agent, to obtain reduced tax withholding rates, to comply with local law or to respond to
                                    other lawful requests.




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                               Householding of Statements and Other Communications

                               As a convenience to you, we may consolidate periodic communications for certain               If you do not want your statements
                               accounts with the same address. This practice, called “householding,” applies to account      to be bundled by household, please
                               statements, trade confirmations, personal and financial information required to be sent by    contact your Financial Advisor and
                               regulation, preliminary and final prospectuses and Summary of Accounts statements,            ask to receive individual account
                               which provide consolidated information for all of the accounts in your household.             statements mailed in separate
                               Households are determined as follows:                                                         envelopes or delivered separately via
                                                                                                                             electronic means.
                                   •    Accounts that share the same name, address and Social Security or Tax ID
                                        Number are automatically placed in the same household.                               For more information regarding
                                                                                                                             electronic delivery of periodic
                                   •    Accounts that share only the same address will be placed in the same household       communication for your Account,
                                        only with the express consent of all the Account holders.                            please refer to the Electronic Delivery
                                                                                                                             Agreement below.
                               We mail househeld communications in a single envelope (if you receive paper delivery) or,
                               if you receive electronic delivery, we make them available through UBS Online Services or
                               other electronic delivery method. Any member of your household who is enrolled in UBS
                               Online Services can have access to view all Accounts in the household.

                               The composition of a household will change as clients move away from the household
                               mailing address, and the addressee for househeld mailings may also change over time.
                               Where owners of joint accounts live at different addresses, househeld mailings will be sent
                               to at least one account owner's address and may be included with mailings for other
                               accounts at that address under the conditions described above.

                               Periodically we are required by industry regulators to send records of certain
                               personal and financial information to our clients. Because we deliver these records
                               with your account statements, other members of your household may have access to these
                               records unless you instruct us to send them to you separately.

                               If you do not want your statements and other periodic communications from us to be
                               bundled by household, please contact your Financial Advisor and ask to receive individual
                               mailings in separate envelopes or delivered separately via electronic means.

                               E-mail Communications

                               We discourage clients from transmitting personal or confidential information through
                               e-mail. If you choose to send personal and confidential information to us via e-mail, we
                               cannot be responsible for any loss or damages that occur as a result, such as losses or
                               damages arising from mistaken identity or unauthorized access and the use of the
                               information (for any purpose) by others who may intercept or otherwise access the
                               communications during and after transmission.

                               Entire Agreement and Changes to the Agreement

                               This Client Relationship Agreement and the related documents, including the General
                               Terms and Conditions and the rest of the Agreements and Disclosures booklet form the
                               entire “Agreement” between you and UBS Financial Services Inc. or UBS Financial Services
                               Incorporated of Puerto Rico with respect to your Account(s).

                               The accounts and services we offer may change over time. We may change our Agreement
                               with you at any time by sending you a written notice of the change, and the changes will
                               be effective on the date of the notice unless we specify a later date. We also may cease to
                               offer services at any time without prior notice. Your continued use of your Accounts and
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                               our products and services constitutes your acceptance of the new terms and conditions.
                               All changes by you to the Agreement will become effective only if offered in writing and
                               signed by us.

                               Applicable Law

                               This Agreement, including the Arbitration provisions below, and its enforcement, are
                               governed by the laws of the State of New York, without giving effect to such State's

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                                    choice of law or conflict of laws provisions. The Agreement is binding on you and on UBS
                                    Financial Services Inc. and UBS Financial Services Incorporated of Puerto Rico provided that
                                    there is no inconsistency with the Federal securities laws or the Federal or State banking
                                    laws. In connection with any Card issued, the respective Cardholder Agreement shall be
                                    governed by Federal law and the law designated by the Card Issuer in that Cardholder
                                    Agreement.

                                    In the event that any of the Arbitration provisions below are found to be unenforceable,
                                    you submit to the exclusive jurisdiction of the courts of the State of New York and the
                                    Federal courts sitting in the Southern District of New York for the purpose of determining
                                    all matters with regard to the Agreement. You also consent to service of process by
                                    certified mail to your Account’s address of record, and you waive any objection to the
                                    venue and any claims that an action or proceeding has been brought in an inconvenient
                                    forum. If any provision of the Agreement is held to be invalid, void, or unenforceable, the
                                    remaining provisions will remain in full force and will be construed to the fullest extent
                                    permitted by law, to give effect to the intent of any provision that has be called into
                                    question.

                                    Non-Primary Residence Address for Mailing Purposes

                                    Unless you notify us otherwise in writing, you authorize us to use the Account Address you
                                    provided in the Account Application to mail all notices, correspondence and for the
                                    disbursement of Property, even if it is not your primary residence. Based upon this
                                    authorization, we will not telephone you to confirm receipt of property or require a signed
                                    written confirmation from you acknowledging transmittal of property. If you would like to
                                    designate an alternative mailing address for the account, please contact your Financial
                                    Advisor to provide the necessary authorization. Even when you have provided a mailing
                                    address for the Account, some correspondence may be delivered to your legal residence
                                    address only based upon operational considerations.

                                    Electronic Records

                                    Any agreements accepted by facsimile or electronic means (such as clicks or other online
                                    means) are legally binding and are considered to have been "signed" by you with the
                                    same effect as a manual signatures. Electronic records of an agreement that is made online
                                    will also be considered to be “in writing.” You agree not to dispute the validity or
                                    enforceability of any agreements entered into electronically by you (or by anyone using
                                    your authentication devices, such as a password or PIN).

                                    Electronic Delivery Agreement

                                    UBS offers certain communications through electronic delivery. Categories of
                                    communications you may enroll in for e-Delivery include:

                                    •




                                                                                                                                                                           de 0250 3716 7432 11/25/2015
                                        Statements for your UBS Accounts, which include your UBS Visa Signature® credit
                                        card statement from the Card Issuer; notices delivered on or with statements such as
                                        our annual Client Privacy Notice; and messages about transactions and payments.
                                    •   Trade confirmations and notices regarding account activity.
                                    •   Shareholder communications, including annual and other shareholder reports,
                                        preliminary and final prospectuses, proxy materials and information about other
                                        corporate actions. Shareholder communications also includes all account documents
                                        related to Investment Advisory accounts and fee- based financial planning services,
                                        including Form ADV disclosure brochures, manager profiles, asset allocations,
                                        performance reports and other disclosures, reports and notices related to advisory
                                        accounts and fee-based financial planning services.
                                    •   Quarterly performance reports.
                                    •   UBS Equity Plan Advisory Services plan advices.
                                    •   Tax reporting documents, including 1099s and other tax documents that are available
                                        now or become available in the future.
                                    •   Agreements and disclosures relating to the accounts, features and services we offer.
                                                                                                                                     Please see the section Householding
                                    Any member of your household may enroll any other household account in electronic                of Statements and Other
                                    delivery of these periodic communications, except for tax reporting documents. By                Communications above for further
                                    enrolling in e-Delivery of any communications described above, you agree that we may
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                               also deliver similar firm documents electronically that may be available now or in the          information regarding how a
                               future. When available, confirmations of your personal and account information may be           household is established.
                               included with related documents that are delivered electronically through UBS Online
                               Services or any other secure method. Please note: These confirmations are sent
                               periodically and to confirm certain changes to your account information. These
                               confirmations may be viewable by other members of your household through UBS Online
                               Services or other secure methods. Contact your Financial Advisor if you prefer to receive
                               private, paper versions of confirmations of personal and account information instead of
                               electronic versions.


                               If you enroll in e-Delivery for any of the communications described above, the following
                               terms and conditions will apply to all of the UBS accounts (current and future) in your UBS
                               statement household.

                               •   A valid e-mail address is required for our e-Delivery services and you are responsible
                                   for notifying UBS when your e-mail address changes; you may update your e-mail
                                   address online through UBS Online Services or by calling your Financial Advisor.
                               •   Access to UBS Online Services is required for e-Delivery of documents that contain any
                                   personal information; we may, however, deliver such documents by other secure
                                   means in the future.
                               •   Enrollment in e-Delivery is effective immediately and may be cancelled at any time,
                                   either by changing your elections online or by contacting your Financial Advisor; we
                                   confirm cancellations and other changes to your delivery preferences by e-mail or
                                   regular mail whether they were initiated by you or UBS.
                               •   Enrollment for any e-Delivery services for any of your accounts will automatically apply
                                   to any accounts that you open in the future at UBS, subject to certain system
                                   limitations.
                               •   You may request paper copies of any document we are required to deliver to you at
                                   any time for no additional charge by contacting your Financial Advisor.
                               •   We notify you by e-mail when a new document is available; to protect your
                                   information, the electronic message generally includes a link to a secure UBS website
                                   where the document can be viewed and downloaded.
                               •   If your e-mail address fails, we will mail paper copies of documents or a paper notice
                                   that a document is available with instructions on how to access it.
                               •   By enrolling in e-Delivery, you confirm that you have access to a printer or other device
                                   to print or save documents you may wish to retain.
                               •   We do not charge for e-Delivery, but your Internet access provider may have separate
                                   charges.
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                                    Representations and Agreement for Trustee Certification

                                    Representation of a Trust Agreement in Effect
                                                                                                                                      The "UBS Client Relationship
                                    For trust accounts, each Trustee, certifies, represents and warrants that the trust to which
                                                                                                                                      Agreement" plus the additional
                                    this certification applies is in full force and effect and that the information you have
                                                                                                                                      information, terms and conditions,
                                    supplied to UBS is true and accurate, as we rely on that information to service your
                                                                                                                                      and disclosures pertaining to the
                                    accounts.
                                                                                                                                      accounts and services you have
                                                                                                                                      requested UBS to establish for the
                                    Unless we are updated subsequently by the trustees, UBS will rely on this certification,
                                                                                                                                      Trust govern the overall relationship
                                    which includes the information you provide on the Signature Page, to service accounts you
                                                                                                                                      between the Trust and UBS.
                                    may open in the future for the same trust. By signing a UBS Trustee Certification and
                                    Agreement, you agree that:

                                    •    Each trustee (or a corporate officer if the account is a corporate trust) executed the
                                         certification.

                                    •    You have full power under the trust agreement and applicable law to submit valid
                                         orders and other instructions relative to the trust Account(s).

                                    •    The trust agreement authorizes you to make distributions and transfers from the
                                         trust.

                                    •    You have received and read the “UBS Client Relationship Agreement” and the
                                         documents it references and agree to those terms and conditions for all accounts you
                                         open on behalf of the trust.

                                    •    As Trustee(s), you have broad investment powers under the Trust and applicable law.
                                         You have noted any restrictions on your power as trustee(s) on the Signature Page for
                                         the first trust account you open, and agree that the powers and restrictions listed
                                         here and on the Signature Page are accurate and complete.


                                    Trustee’s Ability to Bind the Trust

                                    Unless you indicate otherwise on the Signature Page, you agree that any individual trustee
                                    may independently exercise any of the trust’s powers. This means that UBS is authorized to
                                    take instructions from and accept any document on behalf of the trust (including but not
                                    limited to agreements to arbitrate all disputes involving the trust account) signed by any
                                    one of the trustees. You agree that UBS may, in its discretion, require the joint action of all
                                    trustees whenever UBS deems such joint action to be necessary or appropriate.

                                    By signing a UBS Trustee Certification and Agreement, you agree that:

                                    •




                                                                                                                                                                              de 0250 3717 7434 11/25/2015
                                         Unless you have noted otherwise, you have the authority to pledge, mortgage, assign
                                         or subject to a security interest or lien in favor of UBS, any property of the trust as
                                         security for any liability of the trust.

                                    •    You have the authority to execute any and all relevant documents and bind the trust
                                         to any agreements entered into with respect to such activities.

                                    •    You understand that, if you have requested margin privileges on behalf of
                                         the trust, UBS holds securities in margin-eligible trust accounts as a lien
                                         against the amounts borrowed by the trust, and you agree to maintain
                                         sufficient collateral in the account to meet margin calls we might issue.




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                               Trustee’s Acknowledgement

                               By signing a UBS Trustee Certification and Agreement, you agree that:

                               •    UBS may assume without further inquiry and is not required to confirm your power
                                    and authority as trustee(s) or to verify instructions for the delivery of any money or
                                    property to you as trustee(s).

                               •    UBS is not required to confirm that you are properly exercising your power and
                                    authority unless UBS has actual knowledge to the contrary.
                               Liability and Indemnification

                               By signing a UBS Trustee Certification and Agreement, you agree that:

                               •    UBS is acting in reliance on this certification and is not liable for any breach of
                                    fiduciary duty for account activities and transactions that are not specifically identified
                                    in this certification as a limitation on your authority to invest or act on behalf of the
                                    trust.

                               •    UBS is not required to inquire whether any transaction represents a proper exercise of
                                    the trustees’ power or authority, unless it is demonstrated that UBS had actual
                                    knowledge that either the transaction’s proceeds were being improperly used for the
                                    trustees’ benefit or that the transaction exceeded or was in breach of the trustees’
                                    powers or authorities.

                               •    You fully indemnify UBS from all losses, liabilities, damages, claims, costs and
                                    expenses, including attorney fees resulting from UBS acting in reliance on this
                                    certification.

                               •    As trustees, you are each jointly liable for performing your obligations under this
                                    certification and agreement

                               •    Your obligations and this indemnification remain in effect if the trust is terminated or
                                    its accounts are transferred and shall bind all your successors and assigns.


                               Duty to Update

                               You agree to provide UBS an updated certification if there is any amendment to the trust,
                               any change in the composition of the trustees, or any other event that materially alters the
                               facts which you have certified and upon which we are relying to service the trust
                               account(s).

                               If we are uncertain of the authority conferred by this certification, its continuing
                               effectiveness, or any other certification of the trustees, we may refrain from taking any
                               action with respect to the account(s) until we are satisfied as to the authority of the
                               trustee(s). You agree to indemnify us from any claims, demands, expenses, losses or
                               damages if we refrain from acting for these reasons.
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                                    Authority To Appoint/Hire Investment Advisor or Other Third Party

                                    By signing a UBS Trustee Certification and Agreement, you agree that:

                                    •     Unless you have indicated otherwise on the Signature Page, you have the power
                                          under the trust agreement and applicable law to appoint or hire an investment
                                          advisor or other third party to manage and have discretion with respect to the trust’s
                                          assets and liabilities, including, the authority to execute a power of attorney or letter
                                          of authorization for that purpose. In the event that you appoint or hire an investment
                                          advisor or third party on behalf of the trust, you agree to provide additional
                                          documentation to UBS as we request.

                                    •     You have the authority to open the trust account(s), place assets in the trust
                                          account(s), make each and every representation and warranty set forth in this
                                          certification and agreement, engage in each of the actions on behalf of the trust set
                                          forth in this certification and agreement, and execute this certification and
                                          agreement.

                                    •     All investment advisors or other third parties you appoint or hire to manage and/or
                                          have discretion with respect to the trust’s assets and liabilities are bound by your
                                          acknowledgements, agreements, representations and warranties in this certification
                                          and agreement, and the obligations you have undertaken.


                                    Grantor Power to Amend and Revoke – Revocable Trusts Only

                                    By signing a UBS Trustee Certification and Agreement, you agree that either:

                                    You are the grantor of a revocable trust and you have full power and authority under the
                                    trust agreement and applicable law to freely amend and revoke the trust, OR

                                    As a non-grantor trustee, you represent that the grantor has full power and authority
                                    under the trust agreement and applicable law to freely amend and revoke the trust.
                                    Grantor Authorization for Credit Disclosure

                                    By signing a UBS Trustee Certification and Agreement, each grantor agrees that:

                                    You authorize UBS to obtain a credit report or other verbal or written credit references
                                    about your credit history or to verify or update credit information given to UBS.

                                    Introduced Accounts

                                    Accounts opened with UBS Financial Services Incorporated of Puerto Rico or any other




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                                    broker-dealer under a clearing agreement with UBS Financial Services Inc. are “introduced”
                                    to UBS Financial Services Inc. and will be carried by UBS Financial Services Inc. in your
                                    name. Please refer to the section titled “Introduced Accounts” in the General Terms and
                                    Conditions for a description of the services provided by your introducing broker and by
                                    UBS Financial Services Inc.

                                    Puerto Rico Residency Representation

                                    If Puerto Rico investments are purchased and/or held in a UBS Financial Services Incorporated
                                    of Puerto Rico account, each account owner, or for an account of an entity, the authorized
                                    person(s), certifies the following:

                                    You may hold or purchase certain investments in your Account, including, but not limited to,
                                    closed-end and open-end mutual funds, preferred stock and debt securities that are not
                                    registered under the U.S. Securities Act of 1933 or the U.S. Investment Company Act of
                                    1940 and are exempt from registration under the U.S. Securities Act of 1933 and/or the U.S.
                                    Investment Company Act of 1940 ("Puerto Rico Investments"), based in part, on the
                                    requirement that they be offered or sold only to individuals who have their principal
                                    residence in Puerto Rico and to entities whose principal office and place of business are in

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                                                                                                                                                                              UBS Client Relationship Agreement
                               Puerto Rico ("Puerto Rico Residents"), as disclosed in the respective prospectuses or offering
                               materials. You are aware that certain Puerto Rico Investments may not be suitable to all
                               investors as they may be designed primarily for long-term investors.

                               Accordingly, you hereby represent that:

                               •    You have acquired or propose to acquire Puerto Rico Investments for your own
                                    Account and will be the beneficial owner of those assets.

                               •    If you propose to acquire Puerto Rico Investments for the Account of a retirement plan
                                    that is the beneficial owner of the assets, you acknowledge that UBS may limit, in part
                                    or in total, the amount of any such purchase, whether or not the retirement plan is
                                    subject to ERISA.

                               •    As of the date of this agreement, (i) you are an individual whose principal residence is
                                    in Puerto Rico, or (ii) if organized as a non-business trust, the trust has its principal
                                    office and principal place of business within Puerto Rico and the trustee and all
                                    beneficiaries of the trust are Puerto Rico Residents, or (iii) if organized as a trust, the
                                    trustee and all beneficiaries of the trust are Puerto Rico Residents, or (iv) if organized as
                                    a corporation, partnership or other form of business organization, the entity has its
                                    principal office and principal place of business within Puerto Rico and has not been
                                    organized for the purpose of acquiring Puerto Rico Investments.

                               •    If you cease to be a Puerto Rico Resident, you will (i) notify us within 30 days of ceasing
                                    to be a Puerto Rico Resident, (ii) liquidate your holdings in any Puerto Rico Investment
                                    when such liquidation becomes economically feasible, and (iii) not acquire additional
                                    Puerto Rico Investments.

                               •    You acknowledge that if at the time of your acquisition of Puerto Rico Investments you
                                    are not a Puerto Rico Resident, UBS may declare such acquisition null and void.

                               Arbitration

                               This Agreement contains a predispute arbitration clause. By signing an arbitration                   This Arbitration Agreement
                               agreement the parties agree as follows:                                                              represents standard industry practice
                               •    All parties to this Agreement are giving up the right to sue each other in court,               and binds you and UBS Financial
                                    including the right to a trial by jury, except as provided by the rules of the arbitration      Services Inc. or UBS Financial Services
                                    forum in which a claim is filed.                                                                Incorporated of Puerto Rico to
                               •    Arbitration awards are generally final and binding; a party’s ability to have a court           arbitrate any disagreements that may
                                    reverse or modify an arbitration award is very limited.                                         arise between the parties.
                               •    The ability of the parties to obtain documents, witness statements and other                    "The parties", for purposes of this
                                    discovery is generally more limited in arbitration than in court proceedings.                   arbitration agreement, are UBS
                               •    The arbitrators do not have to explain the reason(s) for their award, unless, in an             Financial Services Inc. or UBS
                                    eligible case, a joint request for an explained decision has been submitted by all              Financial Services Incorporated of
                                    parties to the panel at least 20 days prior to the first scheduled hearing date.                Puerto Rico and you, including on
                               •    The panel of arbitrators will typically include a minority of arbitrators who were or are       behalf of your heirs, executors,
                                    affiliated with the securities industry.                                                        administrators and assigns.
                               •    The rules of some arbitration forums may impose time limits for bringing a claim in
                                    arbitration. In some cases, a claim that is ineligible for arbitration may be brought in
                                    court.
                               •    The rules of the arbitration forum in which the claim is filed, and any amendments to
                                    them, shall be incorporated into this Agreement.

                               By opening an account at UBS, and by UBS Financial Services Inc. or UBS Financial Services
                               Incorporated of Puerto Rico by accepting your application and carrying your account, you,
de 0250 3719 7437 11/25/2015




                               UBS Financial Services Inc. and UBS Financial Service Incorporated of Puerto Rico agree as
                               follows:

                               •    To resolve any controversy, claim or issue in any controversy that may arise between
                                    you and UBS Financial Services or UBS Financial Services Incorporated of Puerto Rico
                                    by arbitration, whether it happen before or after, or at the time this Agreement was
                                    executed, including but not limited to controversies, claims or issues in any


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                                                                   Client Relationship Agreement (CRA)
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UBS Client Relationship Agreement




                                        controversy concerning any account, transaction, dispute or the construction,
                                        performance or breach of this Agreement or any other agreement.
                                    •   Any arbitration under this Agreement shall be governed by the Federal Arbitration Act
                                        and shall be conducted before an arbitration panel convened by the Financial Industry
                                        Regulatory Authority (FINRA) or any other national securities exchange’s arbitration
                                        forum, upon which UBS Financial Services Inc. or UBS Financial Services Incorporated
                                        of Puerto Rico is legally required to arbitrate the controversy with you, including,
                                        where applicable, the Municipal Securities Rulemaking Board.
                                    •   Such arbitration shall be governed by the rules of the organization convening the
                                        panel.
                                    •   The arbitrators shall resolve any controversy in accordance with applicable law.
                                    •   The arbitrators will apply state and federal statutes of limitation the same as if the
                                        claim were brought as a civil action in court.
                                    •   The award of the arbitration panel is not subject to appeal and judgment upon the
                                        award may be entered in any court of competent jurisdiction.
                                    •   No person shall bring a putative or certified class action to arbitration nor seek to
                                        enforce any pre-dispute arbitration Agreement against any person who has initiated
                                        in court a putative class action; or who is a member of a putative class who has not
                                        opted out of the class with respect to any claims encompassed by the putative class
                                        action until:
                                        −    the class certification is denied; or
                                        −    the class is decertified; or
                                        −    the customer is excluded from the class by the court. Such forbearance to
                                             enforce an agreement to arbitrate shall not constitute a waiver of any rights
                                             under this agreement except to the extent stated herein.
                                    •   You expressly agree that service of process in any action shall be sufficient if served
                                        by certified mail, return receipt requested, at your last address known to UBS.
                                    •   You expressly waive any defense to service of process as set forth above.




                                                                                                                                            de 0250 3719 7438 11/25/2015




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                               Signature Page




                                                                                                                                                                                          FOR YOUR RECORDS
                               Denise Otero Vilarino
                               Account Number and Description                                                 Signature Requirement

                               R2 90147 RMA Domestic - Joint Ten W/Rights Surv                                Client Relationship Agreement
                               Lorenzo Esteva
                               Account Number and Description                                                 Signature Requirement

                               R2 90147 RMA Domestic - Joint Ten W/Rights Surv                                Client Relationship Agreement


                               By signing below and depositing cash or securities in my account, I acknowledge that I have read, understand and agree with the enclosed UBS Client
                               Relationship Agreement, as well as the terms, conditions and disclosures in the enclosed Agreements and Disclosures booklet.

                               Margin Agreement                                                                Electronic Delivery Consent
                               I acknowledge that when I use margin privileges, UBS will hold the              As you requested, we have sent your agreements and disclosure booklet
                               securities in my Account as collateral against the amounts I borrow. I          and other account-related documents electronically to
                               agree to keep sufficient positions and margin in my Account to meet any         estevlo@gmail.com, which we consider to be the e-mail address of record
                               margin calls UBS may be required to issue. By signing below, I agree that       for all owners of the account. The information is also available at
                               the Margin Agreement in my Client Relationship Agreement applies to             www.ubs.com/accountdisclosures or by request to your Financial Advisor,
                               all of my accounts, including any accounts that I may open in the future.       Lorenzo Esteva at 1-305-536-9200.
                               Note: UBS does not extend margin for certain types of accounts (e.g.,
                               IRA and ERISA Plan accounts, Coverdell Education Savings Accounts,
                               403(b)(7) Accounts, UGMA/UTMA, Estate or 529 Plan Accounts).

                               Likewise, I acknowledge and agree that certain securities in my account,
                               including any account I may open in the future, may be loaned to UBS or
                               to other persons or entities as described in the Margin Agreement.
de 0250 3720 7439 11/25/2015




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                                                                                                                                                                                          39

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FOR YOUR RECORDS



                   Denise Otero Vilarino
                   For Accounts:                                                      Enter your Tax ID Number:
                   R2 90147 RMA Domestic - Joint Ten W/Rights Surv
                                                                                       X       X     X    − X        X    − X        X     X       X


                                                                                     0       Check here if you have been notified by the IRS that you are subject to
                                                                                             backup withholding, and therefore have crossed out item (2) below.
                                                                                             Exemption from FATCA reporting code (if any):_______

                   W-9 Form Certification
                   Under penalties of perjury, I certify that: (1) the number shown on this form is my correct taxpayer identification number      The Client Relationship
                   (or I am waiting for a number to be issued to me), and 2) I am not subject to backup withholding because: (a) I am              Agreement contains a
                   exempt from backup withholding, or (b) I have not been notified by the Internal Revenue Service (IRS) that I am subject         pre-dispute arbitration
                   to backup withholding as a result of a failure to report all interest and dividends, or (c) the IRS has notified me that I am   clause located in the final
                   no longer subject to backup withholding, and (3) I am a U.S. citizen or other U.S. person (defined in the instructions), and    section under the title
                   (4) The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.                “Arbitration.”
                   Certification Instruction: You must cross out item (2) above if you have been notified by the IRS that you are currently
                   subject to backup withholding because you have failed to report all interest and dividends on your tax return.

                   The Internal Revenue Service does not require your consent to any provision of this document other than the
                   certifications required to avoid backup withholding.


                   X XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX                                  XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
                        Denise Otero Vilarino                                         Date




                                                                                                                                                                                     de 0250 3720 7440 11/25/2015




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                                                                                                                                                                                             FOR YOUR RECORDS
                               Lorenzo Esteva
                               For Accounts:                                                      Enter your Tax ID Number:
                               R2 90147 RMA Domestic - Joint Ten W/Rights Surv
                                                                                                   X       X     X    − X        X    − X        X     X       X


                                                                                                 0       Check here if you have been notified by the IRS that you are subject to
                                                                                                         backup withholding, and therefore have crossed out item (2) below.
                                                                                                         Exemption from FATCA reporting code (if any):_______

                               W-9 Form Certification
                               Under penalties of perjury, I certify that: (1) the number shown on this form is my correct taxpayer identification number      The Client Relationship
                               (or I am waiting for a number to be issued to me), and 2) I am not subject to backup withholding because: (a) I am              Agreement contains a
                               exempt from backup withholding, or (b) I have not been notified by the Internal Revenue Service (IRS) that I am subject         pre-dispute arbitration
                               to backup withholding as a result of a failure to report all interest and dividends, or (c) the IRS has notified me that I am   clause located in the final
                               no longer subject to backup withholding, and (3) I am a U.S. citizen or other U.S. person (defined in the instructions), and    section under the title
                               (4) The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.                “Arbitration.”
                               Certification Instruction: You must cross out item (2) above if you have been notified by the IRS that you are currently
                               subject to backup withholding because you have failed to report all interest and dividends on your tax return.

                               The Internal Revenue Service does not require your consent to any provision of this document other than the
                               certifications required to avoid backup withholding.


                               X XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX                                  XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
                                    Lorenzo Esteva                                                Date


                               Address of Record
                               3672 Bayview Rd
                               Coconut Grove, FL 33133-6503


                               Email Address of Record
                               estevlo@gmail.com
de 0250 3721 7441 11/25/2015




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            Client Relationship Agreement (CRA)
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                                         PROMISSORY NOTE #R00007906N



            $1,649,993.00                                                                                  Deceiiiber 8.2015


                            FOR VALUE RECEIVED. LORENZO ESTEVA. (the “Employe&’) promises to
            pay, as herein provided, UBS Credit Corp., a Delaware corporation and its successors and/or
            assigns, including all affiliates and related entities (‘UBS), in lawful money of the United States
            of America, at 1000 Harbor Boulevard, Weehawken, N] 07086, or at such other place as UBS
            may direct, the principal sum of $1,649,993.00 (the “Principal Amount”), together with interest
            thereon from the date of this Note at a per annum interest rate of 1.8900% (“Interest Rate”). All
            interest will be computed on the basis of the number of days elapsed and a 360-day year. In the
            event that the first payment date below is more than one year from the date of this Promissory
            Note, interest will be accrued until the first payment date.

                    The Principal Amount, together with all accrued but unpaid interest thereon and any and
            all other fees or other charges payable in connection with this Promissory Note, including but not
            limited to any penalty incut’red for late payment as described herein (collectively the
            “Obligations”), shall be due and payable in the amounts and on the dates set forth immediately
            be low:

                                   $164,999.30.    plus    accrtied   interest,   on   Nov   17,    2016
                                   $164,999.30,    pitis   accrued    interest,   on   Nov   17,    2017
                                   $164.999.30.    pltis   accrued    interest,   on   Nov   17,    2018
                                   $164.999.30.    plus    accrued    interest,   on   Nov   17,    2019
                                   $164,999.30,    plus    accrued    interest,   on   Nov   17.    2020
                                   $164,999.30,    plus    accrued    interest,   on   Nov   17,    2021
                                   $164,999.30,    plus    accrued    interest,   on   Nov   17,    2022
                                   $164,999.30,    plus    accrued    interest,   on   Nov   1 7.   2023
                                   $164,999.30,    plus    accrued    interest,   on   Nov   1 7.   2024
                                   $1 64.999.30,   plus    accrued    interest,   on   Nov   17.    2025


            Employee understands and agrees that. to the extent permitted by                    applicable law, in the event
            that a payment due tinder this Note is not received by UBS within                   10 days of the date set forth
            herein, he/she shall pay an additional late fee in the amount of 2%                 of the outstanding payment.
            In no event will this late fee exceed the maximum amount permitted                  by applicable law.

                   To the fullest extent permitted by law, Employee authorizes UBS to offset the above
            payments at the time they are due from any salary, commission, bonus, award, transition
            payment. or other compensation payable to the Employee by UBS and all related entities and/or
            any funds held by Employee in his/her UBS Financial Services Resource Management Account




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(“RMA”), or any other account maintained at UBS, other than deferred compensation as defined
in Section 409A of the Internal Revenue Code and any related regtilations and guidance, as the
same may be amended fiom time to time (“l.R.C. Section 409A”). Notwithstanding the
foregoing, to the ftillest extent permitted by law, Employee additionally authorizes UBS to offset
the above payments on a monthly basis in advance of when they are due from any salary,
commission, bonus, award, transition payment, or other compensation payable and/or any funds
held by Employee in his/her RMA, other than deferred compensation as defined in l.R.C. Section
409A. Employee agrees to execute any necessary authorizations related to the offsets described
in this paragraph. All amounts prepaid to UBS shall be applied as payments due on the Principal
Amount on the dates set forth above.

         This Note shall immediately become dtie and payable without presentment, demand,
protest, notice of default or other notice of any kind, which the Employee hereby expressly
waives, in the event that the Employee’s employment with UBS or any related entity is
terminated, either voluntarily or involuntarily by the Employee or UBS, including any related
entity, for any reason whatsoever.

         Notwithstanding the above, UBS may demand full or partiaL payment of the Obligations,
at its sole and absolute discretion, at any time.

         Principal and interest under this Promissory Note may be prepaid in whole or in part at
any time by the Employee. Any payments or prepayments (whether voluntary or mandatory)
shall be applied at the option of UBS, first to collection costs, if any, then to accrued interest and
then to principal.

        Notwithstanding anything to the contrary contained in this Promissory Note, the interest
rate charged hereunder shall not exceed the maximum rate allowable by applicable law. If the
stated interest rate hereunder exceeds the maximum allowable rate, then the interest rate shall be
reduced to the maximum allowable rate, and any excess payment of interest made by the
Employee at any time shall be applied to any unpaid or future payments dLle to UBS hereunder
(or returned to the Employee if no such payments are or will become due).

        The Employee hereby waives diligence, presentment, demand. notice of maturity, protest,
notice of protest, notice of non-payment and any other notice of any kind in connection with this
Promissory Note.

         In the event that any arbitration, suit or other proceeding is brought against the Employee
to collect this Promissory Note, UBS shall be entitled to recover from the Employee all costs and
reasonable expenses of collection and enforcement, including, without limitation, attorneys’ fees
and disbursements. including costs and attorneys’ fees incurred in defense of any counterclaims
asserted by Employee. In addition, in the event of a payment default hereunder, the Employee
shall pay all reasonable attorneys’ fees and disbursements incurred by UBS in obtaining advice
as to its rights and remedies in connection with such default.

        UBS will at all times have a right to set off any or all of the Obligations, at or after the
time at which they become due, whether upon demand, by acceleration or otherwise, against all
securities, cash, deposits or other property in the possession of or at any time in any account

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maintained with UBS or any of its related entities by or for the benefit of the EmpLoyee, whether
carried individually or jointly with others incltiding but not limited to Employee’s RMA, other
than items considered to be deferred compensation as defined in l.R.C. Section 409A
(“Accotints”). This right is in addition to, and not in limitation of, any right UBS may have
pursuant to any agreement, applicable law or otherwise.

       As security for the payment of Employee’s Obligations under this Promissory Note,
Employee hereby grants to UBS and any of its related entities a security interest in and lien on
any and all property held or carried in or credited to any and all Accounts (“Property”). All such
Property will be subject to UBS’s security interest as collateral for the satisfaction and discharge
of Employee’s Obligations.

        In enforcing its security interest, UBS or any of its related entities has absolute discretion
to determine the amount, order and manner in which the Property will be sold, and shall also
have all other remedies available to a secured party under the Uniform Commercial Code
(“UCC”) in addition to all other rights provided by this or any other Agreement between the
parties or by law. Without limiting any of the foregoing, UBS and any of its related entities shall
also have the right, at its sole atid absolute discretion, to freeze, take possession of or otherwise
exercise control over any and all Accounts, without presentment, demand or notice to Employee.
to secure payment of Employee’s Obligations under this Promissory Note, such that, among other
things, Employee will not be able to transfer the Accounts or make withdrawals from the
Accounts unless and until UBS has determined. in its sole and absolute discretion, that
Employee’s Obligations have been fully satisfied. By signing this Agreement, Employee
expressly authorizes and consents to this remedy.

        Employee expressly acknowledges and agrees that UBS and any of its related entities
will not be liable to Employee in any way for any adverse tax consequences (for tax effect or
otherwise) including, but not limited to, any compensatory, consequential, punitive or other
damages, resulting from the liquidation or freezing of any Account.

        All rights and remedies of UBS tinder this Promissory Note are cumulative and are in
addition to all other rights and remedies that UBS may have at law or equity or under any other
contract or other writing for the collection of any amount due under this Promissory Note.

       This Note may be assigned by UBS, and the benefits and obligations hereof shall inure to
UBS’s successors and assigns.

        This Promissory Note may not be amended, modified or discharged, nor may any
provision hereof be waived, orally, by course of dealing or otherwise. unless such amendment,
modification, discharge or waiver shall be in writing and duly executed by UBS. The non
exercise by UBS of any right or remedy in any particular instance shall not constitute a waiver
thereof in that or any other instance. Any provision hereof found to be illegal, invalid or
unenforceable for any reason whatsoever shall not affect the validity, legality or enforceability of
the remainder hereof.




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        By their signatures below, Employee and UBS agree to the Arbitration and Class Action
Waiver Agreement attached to this Note as Appendix A. Employee acknowledges and agrees
that Employee has read, understands and agrees to the terms and conditions of the Agreement
attached hereto as Appendix A.


     EXCEPT AS OTHERWISE EXPRESSLY STATED IN APPENDIX A, THIS
PROMISSORY NOTE SHALL BE GOVERNED BY AND CONSTRUED AND ENFORCED
IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW JERSEY WITHOUT
REGARD TO PRINCIPLES OF CONFLICTS OF LAWS.

         TN WITNESS WHEREOF. Employee has execUted this Note as of the date set forth
above.

                                   EMPLOYEE:




                                   UBS:


                                                                I
                                                        I   I




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                                        APPENDIX A
        Arbitration and Class Action Waiver Agreement —Dispute Resolution Agreement

a.      Binding Mutual Arbitratioti. By their signatures to the Promissory Note to which this
Appendix A is attached, Employee and UBS agree that any Covered Claims (defined below) will
be resolved by final and binding arbitration as set forth in this Dispute Resolution Agreement
(“Agreement”). This Agreement applies with respect to all Covered Claims, whether initiated by
Employee or UBS. By agreeing to this Agreement, Employee and UBS each acknowledge and
agree that, to the fullest extent permitted by law, Employee and UBS are giving up Employee’s
and its right to a jury trial of Covered Claims. The Agreement shall be governed by and
interpreted in accordance with the Federal Arbitration Act (“FAA’) and the law of the State of
New Jersey to the extent New Jersey law is not inconsistent with the FAA and without regard to
conflicts of law principles.

b.      Covered Claims. Except for the Excluded Claims (defined below), and to the fullest
extent permitted by law, Covered Claims include any and all claims or disptites between
Employee and UBS. or UBS’s parents. subsidiaries, affiliates, partners. predecessors, and
successor corporations and business entities, and its and their officers, directors, employees, and
agents, including but not limited to all claims and disputes arising out of or in any way relating to
Employee’s employment. compensation, benefits and terms and conditions of employment with
UBS or any of UBS’s current, former or future parents, subsidiaries, affiliates, partners.
predecessors, or successor or affiliated or related corporations or business entities, including
without limitation UBS AG and UBS Financial Services Inc. (“UBS business entities”). or the
termination thereof, including but not limited to contract, tort, defamation, breach of fiduciary
duty and other common law claims, wage and hour claims, statutory discrimination, harassment
and retaliation claims, and claims arising under or relating to any federal, state or local
constitution. statute or regulation, including, without limitation, the Fair Labor Standards Act
(“FISK’), Title VII of the Civil Rights Act of 1964 (“Title VII”), the Age Discrimination in
Employment Act (“ADEA”), the Employee Retirement Income SecLirity Act (“ERISA”). the
Worker Adjustment and Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the
Americans With Disabilities Act (“ADA”). the Family and Medical Leave Act (“FMLA”). and
any other federal, state or local wage and hour, compensation. benefits, or discrimination law.
and any and all other federal, state, or local constitutional. statutory, regulatory, or common law
claims or causes of action now or hereafter recognized.

c.      Excluded Claims. The following claims and disputes are not subject to this Agreement:
(i) applications by either party lot’ temporary ot’ preliminary injunctive relief in aid of arbitration
or for the maintenance of the stattis quo pending arbitration, (ii) claims for workers’
compensation benefits, but not retaliation claims arising out of or relating to claims lot’ workers’
compensation benefits, (iii) claims for unemployment compensation benefits, (iv) claims under
the National Labor Relations Act, as amended, within the exclusive jurisdiction of the National
Labot’ Relations Board, and (v) any claim that is expressly precluded from arbitration by a
federal statute or regulation. Nothing in this Agreement shall prohibit Employee from filing a
charge or complaint with the U.S. Equal Employment Opportunity Commission, the National


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Labor Relations Board. the U.S. Department of Labor, the Occupational Safety and l-Iealth
Commission, or any other federal. state, or local administrative agency. Employee also has the
right to challenge the validity of the terms and conditions of this Agreement on any grounds that
may exist in law and equity, and UBS shall not discipline, discharge, or engage in any retaliatory
actions against Employee in the event Employee chooses to do so or engage in other protected
legal activity. UBS, however. reserves the right to enforce the terms and conditions of this
Agreement in any appropriate forum.

d.       WAIVERS. TO THE MAXIMUM EXTENT PERMITTED BY APPLECABLE LAW,
EMPLOYEE AND UBS AGREE THAT NO COVERED CLAIMS MAY BE INITIATED,
MAINTAINED, HEARD, OR DETERMFNED ON A CLASS ACTION BASIS, COLLECTIVE
ACTION BASIS, OR REPRESENTATIVE ACTION BASIS EITHER FN COURT OR IN
ARBITRATION, AND THAT EMPLOYEE IS NOT ENTITLED TO SERVE OR
PARTICIPATE AS A CLASS ACTION MEMBER OR REPRESENTATIVE, COLLECTIVE
ACTION MEMBER OR REPRESENTATLVE, OR REPRESENTATIVE ACTION MEMBER
OR REPRESENTATIVE, OR RECEIVE ANY RECOVERY FROM A CLASS,
COLLECTIVE, OR REPRESENTATIVE ACTION INVOLVING COVERED CLAIMS
EITHER IN COURT OR IN ARBITRATION. Employee further agrees that if Employee is
inclLided within any class action. collective action, or representative action in court or in
arbitration involving a Covered Claim, Employee will take all steps necessary to opt-out of the
action or refrain from opting in, as the case may be. Any issue concerning the validity or
enforceability of any of the class action, collective action, or representative action Waivers
contained in this Agreement shall be decided only by a court of competent jurisdiction. Any
issue concerning arbitrability of a particular issue or claim pursuant to this Agreement (except
for issues concerning the validity or enforceability of the class action, collective action, and
representative action Waivers) must be resolved by the arbitrator. not the court. Nothing in this
Agreement shall preclude Employee from pursuing or participating in a class action, collective
action. or representative action in court where Employee’s claim is based solely on Employee’s
status as a customer or an investor and does not arise out of or in any way relate to Employee’s
employment relationship with UBS.

e.       Selection and Rules. Except as specified herein, the applicable arbitration rules will be
the rules of the selected arbitration forum as indicated below, or any successor rules or, if none
exist, the rules most applicable to employment claims and disputes and, if the forum no longer
exists, the successor forum. Except as specified herein, any arbitration of a Covered Claim will
be conducted tinder the auspices and rules of the Financial Industry Regulatory Authority
(“FINRA’) in accordance with the FINRA Code of Arbitration Procedure for Industry’ Disputes
(FINRA Arbitration Rules”). If a Covered Claim may not be arbitrated before FINRA or is
otherwise excluded from or not subject to arbitration before FINRA. then such Covered Claim
will be resolved by final and binding arbitration conducted under the auspices and rules of JAMS
in accordance with and subject to the JAMS Employment Arbitration Rules and Procedures and
the JAMS Policy on Employment Arbitration Minimum Standards of Procedural Fairness
C’JAMS Arbitration Rules”), except as specified herein, and shalt be conducted before a single
arbitrator unless all parties to the arbitration agree otherwise in writing. In addition, Employee
may elect to arbitrate discrimination claims tinder any federal, state or local law (including
claims of harassment and retaliation under those laws) before JAMS in accordance with and


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subject to the JAMS Arbitration Rules, and any such arbittation shall be conducted before a
single arbitrator unless all parties to the arbitration agtee otherwise in writing. Arbitration shalt
be held in the county in which Employee worked or work at the time the claim arose or. if not
possible, in the county closest to Employee’s principal place of employment at the time the claim
arose where the arbitration can be held. To the extent any of the terms, conditions or
requirements of this Agreement conflict with the JAMS Arbitration Rules or FINRA Arbitration
Rules, the terms, conditions or requirements of this Agreement shall govern. Arbitrators are
required to issue a written award, and their awards shall be final and binding, and any judgment
or award issued by an arbitrator may be entered in any court of competent jurisdiction. No
arbitration award or decision will have any preclusive effect as to any issues or claims in any
other arbitration or court proceeding unless each of the parties in such proceeding was also a
named party in the arbitration.

f.      Remedies. Subject to the parties’ right to appeal or seek vacatur under applicable law,
Employee and UBS agree that the decision of the arbitrator(s) will be final and binding on the
parties and that the arbitrator(s) is authorized to award any patty the full remedies that would be
available to such party if the Covered Claim had been filed in a court of competent jurisdiction,
including attorneys’ fees and costs. As part of Employee’s costs, Employee may recover expert
fees incurred by Employee to the same extent as Employee could in court.

g.       Additional Provisions Applicable to Arbitration of Statutory Claims. Stibject to any
applicable fee-shifting provisions, if Employee initiates arbitration of statutory claims with
FINRA or JAMS, Employee shall be responsible for the filing fee required to initiate arbitration
of such claims up to the amount of the filing fee Employee would have incurred had Employee
filed such claims in federal district court, atid UBS shall be responsible for all additional
arbitration filing fees, forum fees, and other fees and costs assessed by FINRA or JAMS in any
such arbitration.

h.      Additional Provisions Applicable to Arbitration Before JAMS. In any arbitration before
JAMS, the parties may file and the arbitrator shall hear and decide at any point in the
proceedings any motion permitted by the Federal Rules of Civil Procedure, including but not
limited to motions to compel discovery, motions for protective orders, motions to dismiss.
motions for summary judgment, and motions in limine.

i.      Additional Matters. The provisions of this Agreement shall be severable and, if any
provisions hereof shall be determined to be legally unenforceable or void, such unenforceable or
void provision shall not affect the legality, validity or enforceability of the remaining provisions
hereof and may be severed from the remaining provisions as appropriate, to the extent permitted
by law, except that. in the event any of the Waivers set forth in paragraph d of this Agreement
are determined to be invalid. unenforceable or void with respect to any Covered Claim, that
Covered Claim and only that Covered Claim shall proceed in court and the Waivers set forth          in
 paragraph d of this Agreement shall remain effective and enforceable with respect to all other
 Covered Claims. If a court of competent jurisdiction determines that a particular provision of
this Agreement is in conflict with a mandatory provision of applicable law in a particular
jtirisdiction, such provision will not be enforced in that jurisdiction butt shall remain effective and
enforceable in all otherjurisdictions. Insofar as any Covered Claim is permitted to proceed on a


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class. colIectve or representative action basis, it may do so oniy in a court of competent
jurisdiction and not in arbitration.




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                                          PROMISSORY NOTE #B00015212N



             $212,046.00                                                                                      March 17, 2016


                             FOR VALUE RECEIVED, LORENZO ESTEVA, (the “Employee”) promises to
             pay, as herein provided, UBS Credit Corp., a Delaware corporation and its successors and/or
             assigns. including all affiliates and related entities (‘UBS”), in lawful money of the United States
             of America, at 1000 Harbor Boulevard, Weehawken, NJ 07086, or at stich other place as UBS
             may direct, the principal slim of $212,046.00 (the “Principal Amount”), together with interest
             thereon from the date of this Note at a per annum interest rate of 1 .7500% (“Interest Rate”). All
             interest will be computed on the basis of the number of days elapsed and a 360-day year. In the
             event that the first payment date below is more than one year from the date of this Promissory
             Note, interest will be accrued until the first payment date.

                     The Principal Amount, together with all accrued but unpaid interest thereon and any and
             all other fees or other charges payable in connection with this Promissory Note, including but not
             limited to any penalty incurred for late payment as described herein (collectively the
             “Obligations”), shall be due and payable in the amounts and on the dates set forth immediately
             below:

                                     $23,560.67,   plus   accrued   interest,   on   Feb   28,   2017
                                     $23,560.67.   plus   accrued   interest,   on   Feb   28,   2018
                                     $23,560.67,   plus   accrued   interest,   on   Feb   28.   2019
                                     $23,560.67,   plus   accrued   interest,   on   Feb   29,   2020
                                     $23,560.67,   plus   accrued   interest,   on   Feb   28,   2021
                                     $23,560.67,   plus   accrued   interest,   on   Feb   28,   2022
                                     $23,560.67,   plus   accrued   interest,   on   Feb   28.   2023
                                     $23.560.67.   plus   accrued   interest,   on   Feb   29,   2024
                                     $23.560.64,   plus   accrued   interest,   on   Feb   28,   2025


             Employee understands and agrees that. to the extent permitted by                    applicable law, in the event
             that a payment due under this Note is not received by UBS within                    10 days of the date set forth
             herein, he/she shall pay an additional late fee in the amount of 2%                 of the outstanding payment.
             In no event will this late fee exceed the maximum amount permitted                  by applicable law.

                    To the fullest extent permitted by law, Employee authorizes UBS to offset the above
             payments at the time they are due from any salary, commission, bonus, award, transition
             payment, or other compensation payable to the Employee by UBS and all related entities and/or
             any funds held by Employee in his/her UBS Financial Services Resource Management Account
             (“RMA”). or any other accotint maintained at UBS, other than deferred compensation as defined




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in Section 409A of the Internal Reventie Code and any related regulations and guidance, as the
same may be amended From time to time (“l.R.C. Section 409A”). Notwithstanding the
foregoing, to the fullest extent permitted by law, Employee additionally authorizes UBS to offset
the above payments on a monthly basis in advance of when they are dtie from any salary,
comm iss ion, boncis, award, transition payment, or other compensation payable and/or any funds
held by Employee in his/her RMA. other than deferred compensation as defined in t.R.C. Section
409A. Employee agrees to execute any necessary authorizations related to the offsets described
in this paragraph. All amounts prepaid to UBS shalt be applied as payments due on the Principal
Amount on the dates set forth above.

         This Note shall immediately become due and payable without presentment, demand,
protest, notice o default or other notice of any kind, which the Employee hereby expressly
waives, in the event that the Employee’s employment with UBS or any related entity is
terminated, either voluntarily or invoLuntarily by the Employee or UBS, including any related
entity, for any reason whatsoever.

         Notwithstanding the above, UBS may demand fcill or partial payment of the Obligations,
at its sole and absolute discretion, at any time.

         Principal and interest under this Promissory Note may be prepaid in whole or in part at
any time by the Employee. Any payments or prepayments (whether voluntary or mandatory)
shall be applied at the option of UBS, first to collection costs, if any. then to accrued interest and
then to principal.

        Notwithstanding anything to the contrary contained in this Promissory Note, the interest
rate charged hereunder shall not exceed the maximum rate allowable by applicable law. If the
stated interest rate hereunder exceeds the maximum allowable rate, then the interest rate shall be
reduced to the maximum allowable rate, and any excess payment of interest made by the
Employee at any time shall be applied to any unpaid or futctre payments due to UBS hereunder
(or returned to the Employee if no such payments are or wilt become due).

        The Employee hereby waives diligence, presentment, demand, notice of maturity, protest,
notice of protest. notice of non-payment and any other notice of any kind in connection with this
Promissory Note.

         In the event that any arbitration, suit or other proceeding is brought against the Employee
to collect this Promissory Note, UBS shall be entitled to recover from the Employee all costs and
reasonable expenses of collection and enforcement, iiic ludi ng, without 1 imitation, attorneys’ fees
and disbursements, including costs and attorneys lees incurred in defense of any counterclaims
asserted by Employee. In addition, in the event of a payment default hereunder, the Employee
shall pay all reasonable attorneys’ fees and disbursements incurred by UBS in obtaining advice
as to its rights and remedies in connection with such default.

        UBS wilt at all times have a right to set off any or all of the Obligations, at or after the
time at which they become due, whether upon demand, by acceleration or otherwise, against all
securities, cash, deposits or other property in the possession of or at any time in any account
maintained with UBS or any of its related entities by or for the benefit of the Employee, whether

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carried inclividtially or jointly with others including but not limited to Employees RMA, other
than items considered to be deferred compensation as defined in l.R.C. Section 409A
(“Accounts”). This right is in addition to, and not in limitation of, any right UBS may have
pursuant to any agreement, applicable law or otherwise.

       As security for the payment of Employee’s Obligations under this Promissory Note,
Employee hereby grants to UBS and any of its related entities a security interest in and lien on
any and alt property held or carried in or credited to any and all Accounts (“Property”). All such
Property will be subject to UBS’s security interest as collateral for the satisfaction and discharge
of Employee’s Obligations.

        In enforcing its security interest, UBS or any of its related entities has absolute discretion
to determine the amount, order and manner in which the Property will be sold, and shall also
have all other remedies available to a secured party under the Uniform Commercial Code
(‘UCC”) in addition to all other rights provided by this or any other Agreement between the
parties or by law. Without limiting any of the foregoing, UBS and any of its related entities shall
also have the right, at its sole and absolute discretion, to freeze. take possession of or otherwise
exercise control over any and alt Accounts, without presentment, demand or notice to Employee,
to secure payment of Employee’s Obligations under this Promissory Note, such that, among other
things, Employee will not be able to transfer the Accounts or make withdrawals from the
Accounts unless and until UBS has determined, in its sole and absolute discretion, that
Employee’s Obligations have been fully satisfied. By signing this Agreement, Employee
expressly authorizes and consents to this remedy.

        Employee expressly acknowledges and agrees that UBS and any of its related entities
will not be liable to Employee in any way for any adverse tax consequences (for tax effect or
otherwise) including, but not limited to, any compensatory, consequential, punitive or other
damages, resulting from the liquidation or freezing of any Account.

        All rights and remedies of UBS under this Promissory Note are cumulative and are in
addition to all other rights and remedies that UBS may have at law or equity or under any other
contract or other writing for the collection of any amount due under this Promissory Note.

       This Note may be assigned by UBS, and the benefits and obligations hereof shall inure to
UBS’s successors and assigns.

        This Promissory Note may not be amended, modified or discharged, nor may any
provision hereof be waived, orally, by course of dealing or otherwise, unless scich amendment,
modification, discharge or waiver shall be in writing and duly exectited by UBS. The non-
exercise by UBS of any right or remedy in any particular instance shall not constitute a waiver
thereof in that or any other instance. Any pmot hereof found to be illegal. invalid or
unenforceable for any reason whatsoever shall not affect the validity, legality or enforceability of
the remainder hereof.

      By their signatures below, Employee and UBS agree to the Arbitration and Class Action
Waiver Agreement attached to this Note as Appendix A. Employee acknowledges and agrees


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that Employee has read, understands and agrees to the terms and conditions of the Agreement
attached hereto as Appendix A.


     EXCEPT AS OTHERWISE EXPRESSLY STATED IN APPENDIX A, THIS
PROMISSORY NOTE SHALL BE GOVERNED BY AND CONSTRUED AND ENFORCED
IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW JERSEY WITHOUT
REGARD TO PRINCIPLES OF CONFLICTS OF LAWS.

         IN WITNESS WI-IEREOF, Employee has executed this Note as of the date set forth
above.

                                   EMPLOYEE:




                                   UBS:




                                  a


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                                        APPENDIX A
        Arbitration and Class Action Waiver Agreement —Dispute Resolution Agreement

a.      Binding Mutual Arbitration. By their signatures to the Promissory Note to which this
Appendix A is aUachecl. Employee and UBS agree that any Covered Claims (defined below) will
be resolved by final and binding arbitration as set forth in this Dispute Resolution Agreement
(“Agreement”). This Agreement applies with respect to all Covered Claims, whether initiated by
Employee or UBS. By agreeing to this Agreement, Employee and UBS each acknowledge and
agree that, to the fullest extent permitted by law, Employee and UBS are giving up Employee’s
and its right to a jury trial of Coveted Claims. The Agreement shall be governed by and
interpreted in accordance with the federal Arbitration Act (“FAA”) and the law of the State of
New Jersey to the extent New Jersey law is not inconsistent with the FAA and without regard to
conflicts of law principles.

b.      Covered Claims. Except for the Excluded Claims (defined below), and to the fullest
extent permitted by law, Covered Claims include any and all claims or disputes between
Employee and UBS, or UBS’s parents, subsidiaries, affiliates, partners, predecessors, and
successor corporations and business entities, and its and their officers, directors, employees, and
agents, including but not limited to all claims and disputes arising out of or in any way relating to
Employee’s employment, compensation, benefits and terms and conditions of employment with
UBS or any of UBS’s current, former or future parents, subsidiaries. affiliates, partners.
predecessors, or successor or affiliated or related corporations or business entities, including
without limitation UBS AG and UBS Financial Services Inc. (“UBS business entities”), or the
termination thereof, including but not limited to contract, tort. defamation, breach of fiduciary
duty and other common law claims, wage and hour claims, statutory discrimination, harassment
and retaliation claims, and claims arising under or relating to any federal, state or local
constitution, statute or regulation, including, without limitation, the Fair Labor Standards Act
(“FLSA”), Title VII of the Civil Rights Act of 1964 C’Title VII”), the Age Discrimination in
Employment Act (“ADEA”), the Employee Retirement Income Security Act (“ERISA”), the
Worker Adjustment aiid Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the
Americans With Disabilities Act (“ADA”), the Family and Medical Leave Act (“FMLA”), and
any other federal, state or local wage and hour, compensation, benefits, or discrimination law,
and any and all other federal, state, or local constitutional. statutory, regulatory, or common law
claims or causes of action now or hereafter recognized.

c.      Excluded Claims. The following claims and disputes are not subject to this Agreement:
(i) applications by either party for temporary or preliminary injunctive relief in aid of arbitration
or for the maintenance of the status qcio pending arbitration, (ii) claims for workers’
compensation benefits. but not retaliation claims arising otit of or relating to claims for workers’
compensation benefits, (iii) claims for unemployment compensation benefits, (iv) claims cinder
the National Labor Relations Act, as amended, within the exclusive jurisdiction of the National
Labor Relations Board, and (v) any claim that is expressly precltided from arbitration by a
federal statute or regulation. Nothing in this Agreement shall prohibit Employee from filing a
charge or complaint with the U.S. Equal Employment Opportunity Commission, the National


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Labor Relations Board, the U.S. Department of Labor, the Occupational Safety and Health
Commission, or any other federal. state, or local administrative agency. Employee also has the
right to challenge the validity of the terms and conditions of this Agreement on any grounds that
may exist in law and equity, and UBS shall not discipline, discharge. or engage in any retaliatory
actions against Employee in the event Employee chooses to do so or engage in other protected
legal activity. UBS, however, reserves the right to enforce the terms and conditions of this
Agreement in any appropriate forum.

d.       WAIVERS. TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EMPLOYEE AND UBS AGREE THAT NO COVERED CLAIMS MAY BE INITIATED,
MAINTAINED, HEARD. OR DETERMINED ON A CLASS ACTION BASIS, COLLECTIVE
ACTION BASIS, OR REPRESENTATIVE ACTION BASIS EITHER [N COURT OR [N
ARBITRATION, AND THAT EMPLOYEE IS NOT ENTITLED TO SERVE OR
PARTICIPATE AS A CLASS ACTION MEMBER OR REPRESENTATIVE, COLLECTIVE
ACTION MEMBER OR REPRESENTATIVE. OR REPRESENTATIVE ACTION MEMBER
OR REPRESENTATIVE, OR RECEIVE ANY RECOVERY FROM A CLASS,
COLLECTIVE, OR REPRESENTATIVE ACTION INVOLVING COVERED CLAIMS
EITHER IN COURT OR IN ARBITRATION. Employee further agrees that if Employee is
included within any class action, collective action, or representative action in cotitt or in
arbitration involving a Covered Claim, Employee will take all steps necessary to opt-out of the
action or refrain from opting in, as the case may be. Any issue concerning the validity or
enforceability of any of the class action, collective action, or representative action Waivers
contained in this Agreement shall be decided only by a court of competent jurisdiction. Any
issue concerning arbitrability of a paticular issue or claim pursuant to this Agreement (except
for issues concerning the validity or enforceability of the class action, collective action, and
representative action Waivers) must be resolved by the arbitrator, not the court. Nothing in this
Agreement shall preclude Employee from pursuing or participating in a class action, collective
action, or representative action in court where Employee’s claim is based solely on Employee’s
stattis as a customer or an investor and does not arise out of or in any way relate to Employee’s
employment relationship with UB S.

e.       Selection and Rules. Except as specified herein, the applicable arbitration rules will be
the rules of the selected arbitration forum as indicated below. or any successor rules or, if none
exist, the rules most applicable to employment claims and disputes and, if the forum no longer
exists, the successor forum. Except as specified herein, any arbitration of a Covered Claim will
be conducted under the atispices and rules of the Financial Industry Regulatory Authority
(‘FINRA”) in accordance with the FINRA Code of Arbitration Procedure for Industry Disputes
(“FINRA Arbitration Rutes’). If a Covered Claim may not be arbitrated before FINRA or is
otherwise excluded from or not subject to arbitration before F[NRA, then such Covered Claim
will be resolved by final and binding arbitration conducted under the auspices and rtiles of JAMS
in accordance with and subject to the JAMS Employment Arbitration Rules and Procedures and
the JAMS Policy on Employment Arbitration Minimum Standards of Procedural Fairness
(“JAMS Arbitration Rules”), except as specified herein, and shall be conducted before a single
arbitrator unless all parties to the arbitration agree otherwise in writing. In addition, Employee
may elect to arbitrate discrimination claims under any federal, state or local law (including
claims of harassment and retaliation under those laws) before JAMS in accordance with and


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subject to the JAMS Arbitration Rules. and any such arbitration shall be conducted before a
single arbitrator unless all parties to the arbitration agree otherwise in writing. Arbitration shall
be held in the county in which Employee worked or work at the time the claim arose or. if not
possible, in the county closest to Employee’s principal place of emplo’ment at the time the claim
arose where the arbitration can be held. To the extent any of the terms. conditions or
requirements of this Agreement conflict with the JAMS Arbitration Rules or FINRA Arbitration
Rules, the terms, conditions or requirements of this Agreement shall govern. Arbitrators are
required to issue a written award, and their awards shall be final and binding, and any jcidgrnent
or award issued by an arbitrator may be entered in any court of competent jurisdiction. No
arbitration award or decision will have any preclusive effect as to any issues or claims in any
other arbitration or court proceeding unless each of the parties in such proceeding was also a
named party in the arbitration.

f.      Remedies. Subject to the parties’ right to appeal or seek vacatur under applicable law,
Employee and UBS agree that the decision of the arbitrator(s) will be final and binding on the
parties and that the arbitrator(s) is authorized to award any party the full remedies that would be
available to such party if the Covered Claim had been filed in a court of competent jurisdiction,
including attorneys’ fees and costs. As part of Employee’s costs, Employee may recover expert
fees incurred by Employee to the same extent as Employee could in court.

g.       Additional Provisions Applicable to Arbitration of Statutory Claims. Subject to any
applicable fee-shifting provisions, if Employee initiates arbitration of statutory claims with
fINRA oi JAMS. Employee shall be responsible for the filing fee required to initiate arbitration
of such claims up to the amount of the filing fee Employee would have incurred had Employee
filed such claims in federal district court. and UBS shall be responsible for all additional
arbitration filing fees, forum fees, and other fees and costs assessed by FINRA or JAMS in any
such arbitration.

h.     Additional Provisions Applicable to Arbitration Before JAMS. In any arbitration before
JAMS. the parties may file and the arbitrator shall hear and decide at any point in the
proceedings an)’ motion peniiitted by the Federal Rules of Civil Procedure, including but not
limited to motions to compel discovery, motions for protective orders, motions to dismiss,
motions for summary judgment. and motions in limine.

 i.      Additional Matters. The provisions of this Agreement shall be severable and, if any
 provisions hereof shall be determined to be legally unenforceable or void, such unenforceable or
 void provision shall not affect the legality, validity or enforceability of the remaining provisions
 hereof and may be severed from the remaining provisions as appropriate, to the extent permitted
 by law, except that. in the event any of the Waivers set forth in paragraph d of this Agreement
are determined to be invalid. unenforceable or void with respect to any’ Covered Claim. that
 Covered Claim and only that Covered Claim shall proceed in court and the Waivers set forth in
paragraph d of this Agreement shall remain effective and enforceable with respect to all other
Covered Claims. If a court of competentjurisdiction determines that a particular provision of
this Agreement is in conflict with a mandatory plovision of applicable law in a particular
jurisdiction, such provision will not be enforced in that jurisdiction but shall remain effective and
enforceable in all other jurisdictions. Insofar as any Covered Claim is permitted to proceed on a


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class, collective or representative action basis, it may do so oniy in a court of competent
jurisdiction and not in arbitration.




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                                         PROMISSORY NOTE #800015638N



            $290623.00                                                                                       June 14, 2016


                            FOR VALUE RECEIVED, LORENZO ESTEVA, (the Employee’) promises to
            pay, as herein provided. UBS Credit Corp., a Delaware corporation and its successors and/or
            assigns. including all affiliates and related entities (‘UBS”). in lawful money of the United States
            of America. at 1000 Harbor Boulevard, Weehawken, NJ 07086, or at such other place as UBS
            may direct, the principal sum of $290,623.00 (the ‘Principal Amotinf’), together with interest
            thereon from the date of this Note at a per annum interest rate of 1 .6800% (Interest Rat&). All
            interest will be computed on the basis of the number of days elapsed and a 360-day year. In the
            event that the first payment date below is more than one year from the date of this Promissory
            Note, interest will be accrued until the first payment date.

                    The Principal Amount, together with all accrLled but unpaid interest thereon and any and
            all other fees or other charges payable in connection with this Promissory Note, including but not
            limited to any penalty incurred for late payment as described herein (collectively the
            Obligations”). shall be dtie and payable in the amounts and on the dates set forth immediately
            below:

                                   $32,291.44,    plus    accrued    interest,   on   May   31, 2017
                                   $32,291.44,    plus    accrued    interest,   on   May   31, 2018
                                   $32,291 .44,   pltis   accrtied   interest,   on   May   31, 2019
                                   $32,291.44,    plus    accrued    interest,   on   May   31, 2020
                                   $32,291.44,    plus    accrued    interest,   on   May   31, 2021
                                   $32,291.44,    plus    accrued    interest,   on   May   31, 2022
                                   $32,291.44.    plus    accrued    interest,   on   May   31, 2023
                                   $32,291.44,    pius    accrued    interest,   on   May   31, 2024
                                   $32,291 .48,   plus    accrued    interest,   on   May   31, 2025


            Employee understands and agrees that, to the extent permitted by                  applicable law, in the event
            that a payment due under this Note is not received by UBS within                  10 days of the date set forth
            herein, he/she shall pay an additional late fee in the amount of 2%               of the outstanding payment.
            In no event will this late fee exceed the maximum amount permitted                by applicable law.

                   To the fullest extent permitted by law, Employee authorizes UBS to offset the above
            payments at the time they are due from any salary, commission. bonus. award. transition
            payment, or other compensation payable to the Employee by UBS and all related entities and/or
            any funds held by Employee in his/her UBS financial Services Resource Management Account
            (“RMA”), or any othet account maintained at UBS. other than deferred compensation as defined




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in Section 409A of the Internal Revenue Code and any related regulations and guidance, as the
same may be amended from time to time (“l.R.C. Section 409A”). Notwithstanding the
foregoing, to the fullest extent permitted by law, Employee additionally authorizes UBS to offset
the above payments on a monthly basis in advance of when they are due from any salary,
comm iss ion, bonus. award, transition payment. or other compensation payable and/or any funds
held by Employee in his/her RMA. other than deferred compensation as defined in I.R.C. Section
409A. Employee agrees to execute any necessary authorizations i-elated to the offsets described
in this paragraph. All amounts prepaid to UBS shall be applied as payments due on the Principal
Amount on the dates set forth above.

         This Note shall immediately become due and payable without presentment, demand,
protest, notice of default ot other notice of any kind, which the Employee hereby expressly
waives, in the event that the Employee’s employment with UBS or any related entity is
terminated, either voluntarily or involuntarily by the Employee or UBS, including any related
entity, fot- any reason whatsoever.

         Notwithstanding the above, UBS may demand full or partial payment of the Obligations,
at its sole and absolute discretion, at any time.

         Principal and interest under this Promissory Note may be prepaid in whole or in part at
any time by the Employee. Aiiy payments or prepayments (whether voluntary or mandatory)
shall be applied at the option of UBS, first to collection costs, if any, then to accrued interest and
then to principal.

        Notwithstanding anything to the contrary contained in this Promissory Note. the interest
rate charged hereunder shall not exceed the maximum i-ate allowable by applicable law. If the
stated interest rate hereunder exceeds the maximum allowable rate, then the interest rate shall be
reduced to the maximum allowable rate, and any excess payment of iiiterest made by the
Employee at any time shall be applied to any unpaid or future payments dLIe to UBS hereunder
(or returned to the Employee if no such payments are or will become due).

        The Employee hereby waives diligence, presentment, demand, notice of maturity, protest,
notice of protest, notice of non-payment and any other notice of any kind in connection with this
Promissory Note.

         In the event that any arbitration, stiit or other proceeding is brought against the Employee
to collect this Promissory Note, UBS shall be entitled to recover fi-om the Employee all costs and
reasonable expenses of collection and enforcement, including, without limitation. attorneys’ fees
and disbursements. including costs and attorneys’ fees incurred in defense of any counterclaims
asserted by Employee. In addition, in the event of a payment default hereunder, the Employee
shall pay all reasonable attorneys’ fees and disbursements incurred by UBS in obtaining advice
as to its rights and remedies in connection with such defatilt.

        UBS will at all times have a right to set off any or all of the Obligations, at or after the
time at which they become due, whether upon demand, by acceleration or otherwise, against all
securities, cash, deposits or other property in the possession of or at any time in any account
maintained with UBS or any of its related entities by or for the benefit of the Employee, whether

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carried individually or jointly with others including but not limited to Employee’s RMA, other
than items considered to be deferred compensation as defined in l.R.C. Section 409A
(“Accounts”). This right is in addition to, and not in limitation of, any right UB S may have
pursuant to any agreement, applicable law or otherwise.

       As security for the payment of Employee’s Obligations Linder this Promissory Note.
Employee hereby grants to UBS and any of its related entities a security interest in and lien on
any and all property held or carried in or credited to any and all Accounts (“Property”). All such
Property will be subject to UBS’s security interest as collateral for the satisfaction and discharge
of Employee’s Obligations.

         In enforcing its security interest, UBS or any of its related entities has absolute discretion
to determine the amount, order and manner in which the Property will be sold, and shall also
have all other remedies available to a secured party under the Uniform Commercial Code
(“UCC”) in addition to all other rights provided by this or any other Agreement between the
parties or by law. Without limiting any of the foregoing, UBS and any of its related entities shall
also have the right, at its sole and absolute discretion, to freeze, take possession of or otherwise
exercise control over any and all Accounts, without presentment, demand or notice to Employee,
to sectire payment of Employee’s Obligations under this Promissory Note, such that, among other
things, Employee will not be able to transfer the Accounts or make withdrawals from the
Accounts unless and until UBS has determined, in its sole and absolute discretion, that
Employee’s Obligations have been fully satisfied. By signing this Agreement, Employee
expressly authorizes and consents to this remedy.

        Employee expressly acknowledges and agrees that UBS and any of its related entities
will not be liable to Employee in any way for any adverse tax consequences (for tax effect or
otherwise) including, but not limited to, any compensatory, consequential, punitive or other
damages, resulting from the liquidation or freezing of any Account.

        All rights and remedies of UBS under this Promissory Note are cumulative and are in
addition to alt other tights and remedies that UBS may have at law or equity or under any other
contract or other writing for the collection of any amount due under this Promissory Note.

       This Note may be assigned by UBS, and the benefits and obligations hereof shall inure to
UBS’s successors and assigns.

        This Promissory Note may not be amended, modified or discharged, nor may any
provision hereof be waived, orally, by course of dealing or otherwise, unless such amendment,
modification, discharge or waiver shall he in writing and duly executed by UBS. The non-
exercise by UBS of any right or remedy in any particular instance shall not constitute a waiver
thereof in that or any other instance. Any provision hereof found to be illegal, invalid or
unenforceable for any reason whatsoever shall not affect the validity, legality or enforceability of
the remainder hereof.

      By their signatures below, Employee and UBS agree to the Arbitration and Class Action
Waiver Agreement attached to this Note as Appendix A. Employee acknowledges and agrees


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that Employee has read, understands and agrees to the terms and conditions of the Agreement
attached hereto as Appendix A.


     EXCEPT AS OTI-IERWISE EXPRESSLY STATED IN APPENDIX A, THIS
PROMISSORY NOTE SHALL BE GOVERNED BY AND CONSTRUED AND ENFORCED
IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW JERSEY WITI-IOUT
REGARD TO PRINCIPLES OF CONFLICTS OF LAWS.

         IN WITNESS WHEREOF, Employee has executed this Note as of the date set forth
above.

                                   EMPLOYEE:

                                     tfCI


                                   UBS:




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                                        APPENDIX A
        Arbitration and Class Action Waiver Agreement —Dispute Resolution Agreement

a.      Binding Mutual Arbitration. By their signatures to the Promissory Note to which this
Appendix A is attached. Employee and UBS agree that any Covered Claims (defined below) will
be resolved by final and binding arbitration as set forth in this Dispute Resolution Agreement
‘Agreement”). This Agreement applies with respect to all Covered Claims, whether initiated by
Employee or UBS. By agreeing to this Agreement, Employee and UBS each acknowledge and
agree that, to the fullest extent permitted by law, Employee and UBS are giving up Employee’s
and its right to a jury trial of Covered Claims. The Agreement shall be governed by and
interpreted in accordance with the federal Arbitration Act (“FAA”) and the law of the State of
New Jersey to the extent New Jersey law is not inconsistent with the FAA and without regard to
conflicts of law principles.

b.      Covered Claims. Except for the Excluded Claims (defined below), and to the fullest
extent permitted by law. Covered Claims inciLide any and all claims or disputes between
Employee and UBS. or UBS’s parents, subsidiaries, affiliates, partners, predecessors. and
successor corporations and business entities, and its and their officers, directors. employees, and
agents. including but not limited to all claims and disputes arising out of or in any way relating to
Employee’s employment. compensation. benefits and terms and conditions of employment with
UBS or any of UBS’s current, former or future parents, subsidiaries, affiliates, partners,
predecessors, or successor or affiliated or related corporations or business entities. including
without limitation UBS AG and UBS Financial Services Inc. (“UBS business entities”). or the
termination thereof, including but not limited to contract, tort, defamation, breach of fidticiary
duty and other common law claims, wage and hour claims. statutory discrimination, harassment
and retaliation claims, and claims arising under or relating to any federal, state or local
constitution, statute or regulation. including, without limitation, the Fair Labor Standards Act
(“FLSA”), Title VII of the Civil Rights Act of 1964 (“Title VII”), the Age Discrimination in
Employment Act (“ADEA”), the Employee Retirement Income Security Act (“ERISA”), the
Worker Adjustment and Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the
Americans With Disabilities Act (“ADA”). the Family and Medical Leave Act (“FMLA”), and
any other federal, state or local wage and hour, compensation, benefits, or discrimination law,
and any and all other federal, state, or local constitutional, statutory. regulatory, or common law
claims or causes of action now or hereafter recognized.

c.       Excltided Claims. The following claims and disputes are not subject to this Agreement:
(i) applications by either party for temporary or preliminary injunctive relief in aid of arbitration
or for the maintenance of the status quo pending arbitration. (ii) claims for workers’
compensation benefits. but not retaliation claims arising out of or relating to claims for workers’
compensation benefits, (iii) claims for unemployment compensation benefits, (iv) claims under
the National Labor Relations Act, as amended, within the excltisive jurisdiction of the National
Labor Relations Board. and (v) any claim that is expressly precltided from arbitration by a
federal statute or regulation. Nothing in this Agreement shall prohibit Employee from filing a
charge or complaint with the U.S. Equal Employment Opportunity Commission, the National


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Labor Relations Board, the U.S. Depattment of Labor, the Occupational Safety and l-teatth
Commission, or any other federal, state, or local administrative agency. Employee also has the
right to challenge the validity of the terms and conditions of this Agreement on any grounds that
may exist in law and equity, and UBS shalt not discipline, discharge, or engage in any retaliatory
actions against Employee in the event Employee chooses to do so or engage in other protected
legal activity. UBS, however, reserves the right to enforce the terms and conditions of this
Agreement in any appropriate forum.

d.       WAIVERS. TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EMPLOYEE AND UBS AGREE THAT NO COVERED CLAIMS MAY BE INITIATED,
MAINTAINED. HEARD, OR DETERMINED ON A CLASS ACTION BASIS, COLLECTIVE
ACTION BASIS, OR REPRESENTATIVE ACTION BASIS EITHER IN COURT OR IN
ARBiTRATION. AND THAT EMPLOYEE IS NOT ENTITLED TO SERVE OR
PARTICIPATE AS A CLASS ACTION MEMBER OR REPRESENTATIVE. COLLECTIVE
ACTION MEMBER OR REPRESENTATIVE, OR REPRESENTATIVE ACTION MEMBER
OR REPRESENTATIVE. OR RECEIVE ANY RECOVERY FROM A CLASS,
COLLECTIVE, OR REPRESENTAT[VE ACTION INVOLVING COVERED CLAIMS
EITHER IN COURT OR IN ARBITRATION. Employee further agrees that if Employee is
included within any class action, collective action, or representative action in court or in
arbitration involving a Coveted Claim. Employee will take all steps necessary to opt-out of the
action or refrain from opting in, as the case may be ..Any issite concerning the validity or
enforceability of any of the class action, collective action, or representative action Waivers
contained in this Agreement shall be decided only by a court of competent jurisdiction. Any
issue concerning arbitrability of a particular issue or claim pursuant to this Agreement (except
for issties concerning the validity or enforceability of the class action, collective action, and
representative action Waivei.s) must be resolved by the arbitrator, not the court. Nothing in this
Agreement shall preclude Employee from ptirsuing or participating in a class action, collective
action, or representative action in court where Employee’s claim is based solely on Employee’s
status as a customer or an investor and does not arise out of or in any way relate to Employee’s
employment relationship with UB S.

e.       Selection and Rules. Except as specified herein, the applicable arbitration rules will be
the rules of the selected arbitration forum as indicated below, or any successor rtiles or, if none
exist, the rciles most applicable to employment claims and disputes and, if the forLim no longer
exists, the successor forum. Except as specified herein, any arbitration of a Covered Claim will
be conducted under the auspices and rules of the Financial Industry Regtilatot’y Authority
(“FINRA”) in accordance with the FFNRA Code of Arbitration Procedure for Industry Disputes
(“FINRA Arbitration Rules”). If a Covered Claim may not be arbitrated before FINRA or is
otherwise excicicled from or not stibject to arbitration before FINRA. then such Covered Claim
will be resolved by final and binding arbitration conducted under the auspices and rules of JAMS
in accordance with and subject to the JAMS Employment Arbitratioti Rules and Procedures and
the JAMS Policy on Employment Arbitration Minimum Standards of Procedural Fairness
(“JAMS Arbitration Rules”), except as specified herein, and shall be conducted before a single
arbitrator unless all parties to the arbitration agree otherwise in writing. In addition. Employee
may elect to arbitrate discrimination claims under any federal, state or local law (including
claims of harassment and retaliation tinder those laws) before JAMS in accordance with and


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stibject to the JAMS Arbitration Rules, and any such arbitration shalt be conducted before a
single arbitrator unless all parties to the arbitration agree otherwise in writing. Arbitration shall
be held in the county in which Employee worked or work at the time the claim arose or, if not
possible, in the county closest to Employee’s principal place of employment at the time the claim
arose where the arbitration can be held. To the extent any of the terms, conditions or
requirements of this Agreement conflict with the JAMS Arbitration Rules or FINRA Arbitration
Rules, the terms, conditions or requirements of this Agreement shall govern. Arbitrators are
required to issue a written award. and their awards shall be final and binding, and any judgment
or award issued by an arbitrator may be entered in any court of competent jurisdiction. No
arbitration award or decision will have any preclusive effect as to any issues or claims in any
other arbitration or court proceeding unless each of the pat-ties in such proceeding was also a
named party in the arbitration.

f.      Remedies. Subject to the parties’ right to appeal or seek vacattir under applicable law,
Employee and UBS agree that the decision of the arbitratot(s) will be final and binding on the
parties and that the arbitrator(s) is authorized to award any party the full remedies that would be
available to such party if the Covered Claim had been filed in a court of competent jurisdiction,
including attorneys’ fees and costs. As part of Employee’s costs, Employee may recover expert
fees incurred by Employee to the same extent as Employee could in court.

g.       Additional Provisions Applicable to Arbitration of Statutory Claims. Subject to any
applicable fee-shifting provisions, if Employee initiates arbitration of statutory claims with
FINRA or JAMS, Employee shall be responsible for the filing fee required to initiate arbitration
of such claims tip to the amount of the filing fee Employee would have incurred had Employee
filed such claims in federal district court, and UBS shall be responsible for all additional
arbitration filing fees, forum fees, and other fees and costs assessed by FINRA or JAMS in any
sLich arbitration.

Ii.     Additional Provisions Applicable to Arbitration Before JAMS. In any arbitration before
JAMS, the parties may file and the arbitrator shall hear and decide at any point in the
proceedings any motion permitted by the Federal Rules of Civil Procedure, including but not
limited to motions to compel discovery, motions for ptotective orders, motions to dismiss,
motions for summary judgment, and motions in lirnine.

 i.      Additional Matters. The provisions of this Agreement shall be severable and, if any
 provisions heteof shall be determined to be legally unenforceable or void, such unenforceable or
 void provision shall not affect the legality, validity or enforceability of the remaining provisions
 hereof and may be severed from the remaining pt-ovisions as appropriate, to the extent permitted
 by law, except that, in the event any of the Waivers set forth in paragraph d of this Agreement
are determined to be invalid, unenforceable or void with respect to any Covered Claim, that
 Covet-ed Claim and only that Covered Claim shall proceed in court and the Waivers set forth in
paragraph d of this Agreement shall remain effective and enforceable with respect to all other
Covered Claims. If a court of competent jurisdiction determines that a pat-ticLilar provision of
this Agreement is in conflict with a mandatory provision of applicable law in a particular
jurisdiction, such provision wilt not be enforced in that jurisdiction bLit shall remain effective and
enforceable in all otherjurisdictions. Insofar as any Covered Claim is permitted to proceed on a


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class, collective or representative action basis, it may do so oniy in a court of competent
jurisdiction and not in arbitration.




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                                         PROMISSORY NOTE #B00016035N



            $67,328.10                                                                                 September20, 2016


                            FOR VALUE RECEIVED, LORENZO ESTEVA, (the “Employee”) promises to
            pay, as herein provided, UBS Credit Corp., a Delaware corporation and its successors and/or
            assigns, including all affiliates and related entities (‘UBS”), in lawful money of the United States
            of America, at 1 000 1-larbor Boulevard, Weehawken. NJ 07086, or at such other place as UBS
            may direct, the principal sum of $67,328.10 (the “Principal Amount”), together with interest
            thereon from the date of this Note at a per annum interest rate of I .4600% (“Interest Rate”), All
            interest will be cornpttted on the basis of the number of days elapsed and a 360-day year. In the
            event that the first payment date below is more than one year from the date of this Promissory
            Note. interest will be accrued until the first payment date.

                    The Principal Amount, together with all accrued but unpaid interest thereon and any and
            all other fees or other charges payable in connection with this Promissory Note, including but not
            limited to any penalty incurred for late payment as described herein (collectively the
            “Obligations”), shall be due and payable in the amounts and on the dates set forth immediately
            below:

                                    $7,480.90,   plcis accrLled   interest,   on   Aug 31,    2017
                                    $7,480.90,   plus  accrtied   interest,   on   Aug 31,    2018
                                    $7,480.90,   plus  accrued    interest,   on   Aug 31,    2019
                                    $7,480.90,   plus  accrued    interest,   on   Aug 3 1,   2020
                                    $7,480.90,   plus  accrued    interest,   on   Aug 31,    2021
                                    $7,480.90.   plcis accrued    interest,   on   Aug 3 1,   2022
                                    $7,480.90,   plus  accrued    interest,   on   Aug 31,    2023
                                    $7,480.90,   piLls accrued    interest,   on   Aug 3 1,   2024
                                    $7,480.90,   ptiis accrued    interest,   on   Aug 31,    2025


            Employee understands and agrees that, to the extent permitted by                  applicable law, in the event
            that a payment clue under this Note is not received by UBS within                 I 0 days of the date set forth
            herein, he/she shall pay an additional late fee in the amount of 2%               of the oittstanding payment.
            In no event will this late fee exceed the maximum amount permitted                by applicable law.

                   To the fullest extent permitted by law, Employee authorizes UBS to offset the above
            payments at the time they are due from any salary, commission, bonus, awat’d, transition
            payment, or other compensation payable to the Employee by UBS and all related entities and/or
            any funds held by Employee in his/her UBS financial Services Resource Management Account
            (“RMA”), or any other account maintained at UBS, other than deferred compensation as defined




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in Section 409A of the Internal Revenue Code and any related regulations and guidance, as the
same may be amended from time to time (“I.R.C. Section 409A”). Notwithstanding the
foregoing, to the fullest extent permitted by law, Employee additionally authorizes UBS to offset
the above payments on a monthly basis in advance of when they are due from aiiy salary,
commission, bonus, award, transition payment. or other compensation payable and/or any funds
held by Employee in his/her RMA. other than deferred compensation as defined in 1.R.C. Section
409A. Employee agrees to execute any necessary atithorizations related to the offsets described
in this paragraph. All amounts prepaid to UBS shall be applied as payments due Ofl the Principal
Amount on the dates set forth above.

         This Note shall immediately become due and payable without presentment, demand,
protest. notice of default or other notice of any kind, which the Employee hereby expressly
waives, in the event that the Employee’s employment with UBS or any related entity is
terminated, either voluntarily or involuntarily by the Employee or UBS, including any related
entity, for any reason whatsoever.

         Notwithstanding the above, UBS may demand full or partial payment of the Obligations,
at its sole and absolute discretioti, at any time.

         Principal and interest tinder this Promissory Note may be prepaid in whole or in part at
any time by the Employee. Any payments or prepavments (whether voluntary or mandatory)
shalt be applied at the option of UBS. first to collection costs, if any, then to accrued interest and
then to principal.

        Notwithstanding anything to the contrary contained in this Promissory Note, the interest
rate charged hereunder shall not exceed the maximum rate allowable by applicable law. If the
stated interest rate hereunder exceeds the maximum allowable rate, then the interest rate shall be
reduced to the maximum allowable rate, and any excess payment of interest made by the
Employee at any time shall be applied to any unpaid or future payments due to UBS hereunder
(or returned to the Employee if no such payments are or will become due).

       The Employee hereby waives diligence, presentment, demand. notice of maturity. protest,
notice of protest. notice of non—payment and any other notice of any kind in connection with this
Promissory Note.

         In the event that any arbitration, suit or other proceeding is brought against the Employee
to collect this Promissory Note. UBS shall be entitled to recover from the Employee all costs and
reasonable expenses of collection and enforcement. including, without limitation, attorneys’ fees
and disbursements. including costs and attorneys’ fees incurred in defense of any counterclaims
asserted by Employee. In addition, in the event of a payment default hereunder. the Employee
shall pay all reasonable attorneys’ fees and disbursements incurred by UBS in obtaining advice
as to its rights and remedies in connection with such default.

        UBS will at all times have a right to set off any or all of the Obligations, at or after the
time at which they become due, whether upon demand, by acceleration or otherwise, against all
securities. cash, deposits or other property in the possession of or at any time in any account
maintained with UBS or any of its related entities by or for the benefit of the Employee. whether

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carried individually’ or jointly with others including but not limited to Employee’s RMA. other
than items considered to be deferred compensation as defined in t.R.C. Section 409A
(“Accotints”). This right is in addition to. and not in limitation of any right UBS may have
pursuant to any agreement. applicable law or otherwise.

        As security for the payment of Employee’s Obligations under this Promissory Note,
Employee hereby grants to UBS and any of its related entities a security interest in and lien on
any’ and all property held or carried in or credited to any and all Accounts (“Property”). All such
Property will be subject to UBS’s security interest as collateral for the satisfaction and discharge
of Employee’s Obligations.

        In enforcing its security interest, UBS or any of its related entities has absolute discretion
to determine the amount, order and manner in which the Property will be sold, and shall also
have all other remedies available to a secured party under the Uniform Commercial Code
(“UCC”) in addition to all other rights provided by this or any other Agreement between the
parties or by law. Without limiting any of the foregoing, UBS and any of its related entities shall
also have the right, at its sole and absolute discretion, to freeze. take possession of or otherwise
exercise control over any and all Accounts, without presentment, demand or notice to Employee.
to secure payment of Employee’s Obligations under this Promissory Note, such that, among other
things, Employee will not be able to transfer the Accounts or make withdrawals from the
Accounts unless and until UBS has determined, in its sole and absolute discretion, that
Employee’s Obligations have been fully satisfied. By signing this Agreement, Employee
expressly authorizes and consents to this remedy.

        Employee expressly acknowledges and agrees that UBS and any of its related entities
will not be liable to Employee in any way for any adverse tax consequences (for tax effect or
otherwise) including, but not limited to, any compensatory. consequential. punitive or other
damages. resulting from the liquidation or freezing of any Account.

        All rights and remedies of UBS under this Promissory Note are cumulative and are in
addition to all other rights and remedies that UBS may have at law or equity or tinder any’ other
contract or other writing for the collection of any amount due under this Promissory Note.

       This Note may be assigned by UBS. and the benefits and obligations hereof shall inure to
UBS’s successors and assigns.

        This Promissory Note may not be amended, modified or discharged. nor may any
provision hereof be waived, orally, by course of dealing or otherwise. unless such amendment.
modification. discharge or waiver shall be in writing and duly executed by UBS. The non-
exercise by UBS of any right or remedy in any’ particular instance shall not constitute a waiver
thereof in that or any other instance .Any provision hereof found to be illegal. invalid or
unenforceable for any reason whatsoever shall not affect the validity, legality’ or enforceability of
the remainder hereof.

      By their signatures below, Employee and UBS agree to the Arbitration and Class Action
Waiver Agreement attached to this Note as Appendix A. Employee acknowledges and agrees


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that Employee has read, understands and agrees to the terms and conditions of the Agreement
attached hereto as Appendix A.


     EXCEPT AS OTHERWISE EXPRESSLY STATED IN APPENDIX A. THIS
PROMiSSORY NOTE SHALL BE GOVERNED BY AND CONSTRUED AND ENFORCED
IN ACCORDANCE WITH THE LAWS Of THE STATE OF NEW JERSEY WITHOUT
REGARD TO PRINCIPLES OF CONFLICTS OF LAWS.

         IN WITNESS WHEREOF. Employee has exectited this Note as of the date set forth
above.

                                   EMPLOYEE:

                                     LLC/1o LStet/a

                                   UBS:




                                   a{L




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                                        APPENDIX A
        Arbitration and Class Action Waiver Agreement —Dispute Resolution Agreement

a.      binding Mutual Arbitration. By their signatures to the Promissory Note to which this
Appendix A is attached, Employee and UBS agree that any Covered Claims (defined below) will
be resolved by final and binding arbitration as set forth in this Dispute Resolution Agreement
(“Agreement”). This Agreement applies with respect to all Covered Claims, whether initiated by
Employee or UBS. By agreeing to this Agreement, Employee and UBS each acknowledge and
agree that, to the fullest extent permitted by law, Employee and UBS are giving up Employee’s
and its right to a jtlry trial of Covered Claims. The Agreement shall be governed by and
interpreted in accordance with the Federal Arbitration Act (“FAA’) and the law of the State of
New Jersey to the extent New Jersey law is not inconsistent with the FAA and without regard to
conflicts of law principles.

b.      Covered Claims. Except for the Excluded Claims (defined below), and to the fullest
extent permitted by law, Covered Claims include any and all claims or disputes between
Employee and UBS, or UBS’s parents, subsidiaries, affiliates, partners, predecessors, and
successor corporations and bttsiness entities, and its and their officers, directors, employees, and
agents, including but not limited to all claims and disputes arising out of or in any way relating to
Employee’s employment, compensation, benefits and terms and conditions of employment with
UBS or any of UBS’s current, former or future parents, subsidiaries, affiliates, partners,
predecessors, or successor or affiliated or related corporations or bLisiness entities, including
without limitation UBS AG and UBS Financial Services Inc. (“UBS business entities”), or the
termination thereof, including but not limited to contract, tort, defamation, breach of fiduciary
dtity and other common law claims, wage and hour claims, statutory discrimination, harassment
and retaliation claims, and claims arising under or relating to any federal, state or local
constitution, statute or regulation, including, without limitation, the Fair Labor Standards Act
(“FLSA”), Title VII of the Civil Rights Act of 1964 (“Title VII”), the Age Discrimination in
Employment Act (“ADEA”), the Employee Retirement Income Security Act (“ERISA”), the
Worker Adjustment and Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the
Americans With Disabilities Act (“ADA”), the Family and Medical Leave Act (“FM LA”), and
any other federal, state or local wage and hour, compensation, benefits, or discrimination law,
and any and all other federal, state, or local constitutional, statutory, regulatory, or common law
claims or causes of action now or hereafter recognized.

c.      Excluded Claims. The following claims and disputes are not subject to this Agreement:
(i) applications by either party for temporary or preliminary injunctive relief in aid of arbitration
or for the maintenance of the status quo pending arbitration. (ii) claims for workers’
compensation benefits, but not retaliation claims arising ocit of or relating to claims for workers’
compensation benefits, (iii) claims for unemployment compensation benefits. (iv) claims tinder
the National Labor Relations Act, as amended, within the exclusive jurisdiction of the National
Labor Relations Board. and (v) any claim that is expressly precluded from arbitration by a
federal stattite or regulation. Nothing in this Agreement shall prohibit Employee from filing a
charge or complaint with the U.S. Equal Employment Opportunity Commission, the National


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Labor Relations Board, the U.S. Department of Labor. the Occupational Safety and Health
Commission, or any other federal. state. or local administrative agency. Employee also has the
right to challenge the validity of the terms and conditions of this Agreement on any grounds that
may exist in law and equity, and UBS shall not discipline, discharge. or engage in any retaliatory
actions against Employee in the event Employee chooses to do so or engage in other protected
legal activity. UBS, however, reserves the right to ent’orce the terms and conditions of this
Agreement in any appropriate forum.

U.       WAIVERS. TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EMPLOYEE AND UBS AGREE THAT NO COVERED CLAIMS MAY BE INtTIATED,
MAINTAINED. HEARD. OR DETERMINED ON A CLASS ACTION BASIS, COLLECTIVE
ACTION BASIS, OR REPRESENTATIVE ACTION BASES EITHER IN COURT OR IN
ARBITRATION. AND THAT EMPLOYEE IS NOT ENTITLED TO SERVE OR
PARTICIPATE AS A CLASS ACTION MEMBER OR REPRESENTATIVE. COLLECTIVE
ACTION MEMBER OR REPRESENTATIVE. OR REPRESENTATIVE ACTION MEMBER
OR REPRESENTATIVE, OR RECEIVE ANY RECOVERY FROM A CLASS,
COLLECTIVE, OR REPRESENTATIVE ACTION INVOLVING COVERED CLAIMS
EITHER IN COURT OR IN ARBITRATION. Employee further agrees that if Employee is
incLuded within any class action, collective action, or representative action in cocwt or in
arbitration involving a Covered Claim, Employee will take all steps necessary to opt-out of the
action or refrain from opting in, as the case may be. Any issue concerning the validity or
enforceability of any of the class action, collective action, or representative action Waivers
contained in this Agreement shall be decided only by a court of competent jurisdiction. Any
issue concerning arbitrability of a particular isstie or claim pursuant to this Agreement (except
for issues concerning the validity or enforceability of the class action, collective action, and
representative action Waivers) must be resolved by the arbitrator, not the court. Nothing in this
Agreement shall preclude Employee from pursuing or participating in a class action, collective
action. or representative action in court where Employee’s claim is based solely on Employee’s
status as a customer or an investor and does not arise out of or in any way relate to Employee’s
employment relationship with UBS.

e.       Selection and Rules. Except as specified herein, the applicable arbitration rules will be
the rules of the selected arbitration forum as indicated below, or any successor rules or, if none
exist, the rules most applicable to employment claims and disputes and, if the fortim no longer
exists, the successor forum. Except as specified herein, any arbitration of a Covered Claim will
be conducted tinder the auspices and rules of the Financial Industry Regulatory Authority
(“FINRA’) in accordance with the FINRA Code of Arbitration Procedure for Inclustr Disputes
(“FINRA Arbitration Rules”). If a Covered Claim may not be arbitrated before FINRA or is
otherwise excluded from or not subject to arbitration before FINRA. then such Covered Claim
will be resolved by final and binding arbitration conducted tinder the auspices and rules of JAMS
in accordance with and subject to the JAMS Employment Arbitration Rules and Procedtires and
the JAMS Policy on Employment Arbitration Minimum Standards of Procedural fairness
(“JAMS Arbitration Rules”), except as specified herein, and shall be conducted before a single
arbitrator unless all parties to the arbitration agree otherwise in writing. In addition. Employee
may elect to arbitrate discrimination claims under any federal, state or local law (including
claims of harassment and retaliation under those laws) before JAMS in accordance with and


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subject to the JAMS Arbitration Rules, and any such arbitration shall be conducted before a
single arbitrator unless all parties to the arbitration agree otherwise in writing. Arbitration shall
be held in the county in which Employee worked or work at the time the claim arose or, if not
possible, in the coLinty closest to Employee’s principal place of employment at the time the claim
arose where the arbitration can be held. To the extent any of the terms, conditions or
requirements of this Agreement conflict with the JAMS Arbitration Rules or FINRA Arbitration
Rules, the terms, conditions or requirements of this Agreement shall govern. Arbitrators are
required to issue a written award, and their awards shall be final and binding, and any judgment
or award issued by an arbitrator may be entered in any court of competent jurisdiction. No
arbitration award or decision will have any preclusive effect as to any issues or claims in any
other arbitration or court proceeding unless each of the parties in such proceeding was also a
named party’ in the arbitration.

f.      Remedies. Subject to the parties’ right to appeal or seek vacatur under applicable law,
Employee and UBS agtee that the decision of the arbitrator(s) will be final and binding on the
parties and that the arbitrator(s) is authorized to award any party the full remedies that would be
available to such party if the Covered Claim had been filed in a court of competent jurisdiction,
including attorneys’ fees and costs. As part of Employee’s costs, Employee may recover expert
fees incurred by Employee to the same extent as Employee could in court.

g.       Additional Provisions Applicable to Arbitration of Statutory Claims. Subject to any
applicable fee-shifting provisions, if Employee initiates arbitration of statutory claims with
FINRA or JAMS, Employee shall be responsible for the filing fee reqciired to initiate arbitration
of such claims tip to the amount of the filing fee Employee would have incurred had Employee
filed such claims in federal district court, and UBS shall be responsible for all additional
arbitration filing fees, forum fees, and other fees and costs assessed by FINRA or JAMS in any
such arbitration.

h.     Additional Provisions Applicable to Arbitration Before JAMS. In any arbitration before
JAMS, the parties may file and the arbitrator shall hear and decide at any point in the
proceedings any motion permitted by the Federal Rules of Civil Procedure, including but not
limited to motions to compel discovery, motions for protective orders, motions to dismiss,
motions for summary judgment. and motions in limine.

 i.      Additional Matters. The provisions of this Agreement shall be severable and, if any
 provisions hereof shall be determined to be legally unenforceable or void, such unenforceable or
 void provision shalt not affect the legality, validity or enforceability of the remaining provisions
 hereof and may be severed from the remaining provisions as appropriate, to the extent permitted
 by law, except that. in the event any of the Waivers set forth in paragraph U of this Agreement
 are determined to be invalid, unenforceable or void with respect to any Covered Claim, that
 Covered Claim and only that Covered Claim shall proceed in court and the Waivers set forth in
 paragraph d of this Agreement shall remain effective and enforceable with respect to all other
Covered Claims. If a court of competent jurisdiction determines that a particular provision of
this Agreement is in conflict with a mandatory provision of applicable law in a particular
jurisdiction, such provision will not be enforced in that jurisdiction but shall remain effective and
enforceable in all otherjurisdictions Insofar as any Covered Claim is permitted to proceed on a
                                     .




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class, collective or representative action basis, it may do so only in a court olcompetent
jurisdiction and not in arbitration.




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